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                                                                                                 Scientific Statement




Scientific Statement

Considering Sex as a Biological Variable in Basic




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and Clinical Studies: An Endocrine Society
Scientific Statement
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Abbreviations: ACTH, adrenocorticotropic hormone; AT2R, angiotensin type 2 receptor; BMI, body mass index; cAMP, cyclic
adenosine monophosphate; CKD, chronic kidney disease; CRF, corticotropin-releasing factor; CVD, cardiovascular disease;
dMRI, diffusion magnetic resonance imaging; fMRI, functional magnetic resonance imaging; FCG, Four Core Genotypes
(model); GMV, gray matter volume; GPCR, G-protein coupled receptor; HPA, hypothalamic-pituitary-adrenal; KYN,
kynurenine; LC, locus coeruleus; MIH, Müllerian inhibitory hormone; PAR, pseudoautosomal region; PKA, protein kinase A;
PTSD, posttraumatic stress disorder; RAAS, renin-angiotensin-aldosterone system; rs-fMRI, resting state functional
magnetic resonance imaging; sMRI, structural magnetic resonance imaging; UCN, urocortin.
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Abstract
In May 2014, the National Institutes of Health (NIH) stated its intent to “require appli-
cants to consider sex as a biological variable (SABV) in the design and analysis of NIH-
funded research involving animals and cells.” Since then, proposed research plans that
include animals routinely state that both sexes/genders will be used; however, in many
instances, researchers and reviewers are at a loss about the issue of sex differences.
Moreover, the terms sex and gender are used interchangeably by many researchers,


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further complicating the issue. In addition, the sex or gender of the researcher might in-
fluence study outcomes, especially those concerning behavioral studies, in both animals
and humans. The act of observation may change the outcome (the “observer effect”) and
any experimental manipulation, no matter how well-controlled, is subject to it. This is no-
where more applicable than in physiology and behavior. The sex of established cultured
cell lines is another issue, in addition to aneuploidy; chromosomal numbers can change
as cells are passaged. Additionally, culture medium contains steroids, growth hormone,
and insulin that might influence expression of various genes. These issues often are not




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taken into account, determined, or even considered. Issues pertaining to the “sex” of
cultured cells are beyond the scope of this Statement. However, we will discuss the
factors that influence sex and gender in both basic research (that using animal models)
and clinical research (that involving human subjects), as well as in some areas of sci-
ence where sex differences are routinely studied. Sex differences in baseline physiology
and associated mechanisms form the foundation for understanding sex differences in
diseases pathology, treatments, and outcomes. The purpose of this Statement is to high-
light lessons learned, caveats, and what to consider when evaluating data pertaining to
sex differences, using 3 areas of research as examples; it is not intended to serve as a
guideline for research design.
Key Words: brain-gut, cardiovascular disease, chromosome complement, gender, sex differences, steroid hormones



Sex is an important biological variable that must be con-         and metabolic syndrome are caused by differential actions
sidered in the design and analysis of human and animal            of brain-gut peptide and steroid hormones. The activation,
research. The terms sex and gender should not be used             signaling, and pharmacotherapy responses of the compo-
interchangeably. Sex is dichotomous, with sex determin-           nents of the hypothalamic-pituitary-adrenal (HPA) axis
ation in the fertilized zygote stemming from unequal ex-          differ between the sexes. Heart and kidney functions are
pression of sex chromosomal genes. By contrast, gender            linked. Age, hormones, and sex biases seen in cardiovas-
includes perception of the individual as male, female, or         cular and chronic kidney diseases also differentially influ-
other, both by the individual and by society; both humans         ence pharmacologic responses in men and women. Thus,
and animals have sex, but only humans have gender. Both           sex differences pervade biology and medicine, and while
sexes produce estrogens, androgens, and progestins; there         not discussed in this Statement, must be considered in vir-
are no male- or female-specific sex hormones, per se, al-         tually all areas of biomedical research.
though these steroids are present in substantially different
levels in males and females. Sex differences are caused by
                                                                  Section I
3 major factors—sex hormones, genes, and environment.
To understand disease mechanisms and exploit sex differ-          Sex Versus Gender
ences in protection or exacerbation of diseases, one needs        Much of the American public is surprisingly prudish about
to determine the relative contribution of factors, including      the word sex; it has now become commonplace to use the
observer effect (1), causing sex differences. Here—using          seemingly more genteel term gender when one really means
3 broad research areas as examples—the roles of sex dif-          sex. In Moritz v Commissioner of Internal Revenue (469
ferences in brain anatomy, brain-gut axis, and cardiovas-         F. 2d 466 [1972]), Ruth Bader Ginsburg (subsequently, The
cular disease are discussed. Contemporary brain imaging           Honorable Ruth Bader Ginsburg) argued against discrim-
methods show age- and sex-related differences in brain            ination “on the basis of sex” not “on the basis of gender,”
size, global and regional gray matter volume, white matter        thus clearly, knowledgeably, and presciently understanding
connectivity, and neuroanatomic regulation of appetite and        that “sex” does not equal “gender.” In a decision 48 years
satiety; while these differences are seen in large population-    later (Bostock v Clayton County, 590 US, decided June 15,
based studies, there is tremendous individual overlap, but        2020), the United States Supreme Court separately ruled
such group-level findings do not inform findings, physi-          against discrimination on the basis of gender. Gender is
ology, or pathology at the individual level. Sex differences      often misused as a synonym for sex—for example, when
in disorders of the brain-gut axis, obesity, type 2 diabetes,     filling out forms for various activities, we are routinely
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asked to check a box labeled “gender,” but the only avail-             A simple biological definition of male and female, sat-
able options are boxes labeled “M” and “F.” But sex is not         isfactory to all people, is elusive. In human societies, the
the same thing as gender and using these terms as equiva-          terms female and male can have several meanings, as they
lents obfuscates differences that are real and important in        refer both to a person’s biological sex and to their social
society in general and biomedical research in particular.          roles. Most people learn to discriminate males and females
                                                                   from an early age, but often not based on biological traits
                                                                   (4). For example, behaviors such as pair-bonding, sexual
                                                                   activity, offspring defense and care, and mate/partner se-
Biological Sex: The Definition of Male and Female
                                                                   lection (5) involve complex interplay between sex steroid




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Sex is a biological concept. Asexual reproduction (cloning)        hormones and peptide hormones (oxytocin and arginine
is routine in microorganisms and some plants, but most ver-        vasopressin); these behaviors are encouraged differently in
tebrates and all mammals have 2 distinct sexes. Even single-       women and men, which influences their role in the society
cell organisms have “mating types” to facilitate sexual            and culture in which they live to behave as “females” or
reproduction. Only cells belonging to different mating types       “males.” While these factors have little impact on their bio-
can fuse together to reproduce sexually (2, 3). Sexual re-         logical sex, they can have profoundly different outcomes in
production allows for exchange of genetic information and          the behavior and health of an individual. Biological sex is
promotes genetic diversity. The classical biological defin-        dichotomous because of the different roles of each sex in
ition of the 2 sexes is that females have ovaries and make         reproduction. For scientific research, it is important to de-
larger female gametes (eggs), whereas males have testes and        fine biological sex and distinguish it from other meanings.
make smaller male gametes (sperm); the 2 gametes fertilize
to form the zygote, which has the potential to become a
new individual. The advantage of this simple definition is         Sex Chromosomes and Biological Sex
first that it can be applied universally to any species of sexu-   Determination
ally reproducing organism. Second, it is a bedrock concept         Among mammals and many other taxa, males are characterized
of evolution, because selection of traits may differ in the 2      as the heterogametic sex (6), having 2 different sex chromosomes,
sexes. Thirdly, the definition can be extended to the ovaries      X and Y, whereas females are homogametic (XX). By contrast
and testes, and in this way the categories—female and              birds, many reptiles, and some other organisms have Z and W
male—can be applied also to individuals who have gonads            chromosomes (7). In these organisms, the female is the hetero-
but do not make gametes.                                           gametic sex (ZW) and males are homogametic (ZZ). Some adult
    In mammals, numerous sexual traits (gonads, genitalia,         fish and reptiles can also change sex in response to environmental
etc) that typically differ in males and females are tightly        factors (8, 9), and even the adult mouse gonad can undergo par-
linked to each other because one characteristic leads to sex       tial sex reversal when specific genes are deleted (10, 11). Human
differences in other traits. The type of gonads is controlled      biological sex is often assessed by examining the individual’s
by the presence of XX or XY chromosomes, and gonadal               complement of sex chromosomes as determined by karyotypic
secretions in turn regulate formation of female or male re-        analysis: males are XY and females are XX. Karyotypic sex is
productive tissues, and characteristics that differ in typical     actually a surrogate for genetic sex, determined by the presence
males or females. These characteristics include external           of the SRY gene on the Y chromosome (12, 13). However, karyo-
genitalia, uterus and oviducts, sperm ducts, and secondary         typic analysis may be misleading, as there are well-described
sexual characteristics such as facial hair and pitch of voice.     46,XX males (with testes). Most of these individuals carry a
However, many people cannot make either eggs or sperm,             short segment of the Y chromosome that includes SRY trans-
yet are recognized as female or male based on other phys-          ferred to an X chromosome, but up to 10% lack an SRY gene
ical characteristics; people who do not have either ovaries        (14, 15). Similarly, there are 46,XY females, who have SRY but
or testes are rare. For individuals that possess a combin-         also have a duplication of DAX1 (dosage-sensitive sex reversal,
ation of male- and female-typical characteristics, these clus-     adrenal hypoplasia critical region, on chromosome X, gene
ters of traits are sufficient to classify most individuals as      1) (16).
either biologically male or female. For example, a person
with testes and a penis, who cannot make sperm, is usually
classified as a biological male, as long as the person does        Sex Determination and Sex Differentiation
not possess female features such as a vagina, ovaries, or          In mammals, sex determination begins with the inheritance
uterus. Based on evidence presented, to define male and fe-        of XX or XY chromosomes, which are the only factors
male individuals in general society, we expand the defining        that are different in XX and XY zygotes. Thus, all pheno-
characteristics of sex to include nongonadal traits, as well       typic sex differences, including gonadal development,
as classical gonadal traits.                                       stem originally from the unequal effects of XX and XY
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sex chromosomes. Phenotypic sex differences develop in                         contributes to sex differences in adiposity and body weight
XX and XY embryos as soon as transcription begins. The                         in mice, and variations in KDM5C in humans are associated
categories of X and Y genes that are unequally represented                     with body mass (36).
or expressed in male and female mammalian zygotes,                             Sex differences may also arise from genes in the
which could cause phenotypic sex differences, fall into 3                      pseudoautosomal regions (PARs) of the sex chromosomes,
main categories (17).                                                          small regions of sequence similarity on the X and Y
                                                                               chromosomes that allow for X and Y chromosome
1. Y genes causing male-specific effects. These Y-linked                       pairing during meiosis. Both XX and XY cells have 2
   genes do not have homologous genes on the X                                 PARs, implying equivalent effects of XX and XY PARs.




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   chromosome. The most important Y-linked gene is SRY,                        Paradoxically, the process of X inactivation appears
   the testis-determining gene, which encodes the SRY                          to spill over into the PAR and reduce expression on
   transcription factor expressed during embryonic life in                     one X chromosome only in XX cells, leading to greater
   the bipotential gonadal ridge; SRY activates downstream                     expression of PAR genes in XY cells compared to XX cells
   autosomal genes such as SOX9 to cause formation of                          in the human transcriptome (30). A third potential source
   a testis (18). In the absence of SRY, autosomal and X                       of X-linked imbalance stems from parentally imprinted
   chromosome genes (WNT-4, DAX-1, FOXL2, COUP-                                genes in XX cells, which have one X chromosome from
   TFII, and RSPO1) are activated to cause formation of an                     each parent and thus are influenced by any imprint on X
   ovary (19-22). Both testicular and ovarian development                      genes from either parent. XY cells only receive imprints
   are subject to active genetic regulation (12, 13, 16).                      from the mother, and thus differ phenotypically from XX
   Pathways downstream of SRY inhibit ovary-determining                        cells (37).
   pathways, and ovary-determining pathways also inhibit          3. XX mosaicism. Female mammals are a mosaic of cells of 2
   pathways for testis development. Once the testes form,                      types: those expressing the X chromosome from the father
   they secrete sex hormones that act widely throughout                        (Xp), or from the mother (Xm) because of X inactivation
   the body to cause male differentiation of nongonadal                        (25). In contrast, XY individuals will lack this diversity
   tissues. Other Y genes also have male-specific effects (for                 within cell types in each organ because only one X (Xm)
   example, those required for spermatogenesis) (23, 24).                      chromosome and only the maternal imprint of X genes will
2. X gene dosage or parental imprint. Because XX                               be expressed in each cell. The mosaicism in females means
   nongermline cells inactivate one X chromosome (25, 26),                     that in genetically diverse populations, the effects of disease-
   it was long thought that both XX and XY cells have only                     promoting X-linked alleles, inherited from one parent, will
   one active X chromosome, with little inherent difference                    be muted in XX cells because half of the cells will have a
   in expression related to the number of X chromosomes.                       different allele (38), and genomic imprints from each parent
   The inactivated regions of the X chromosome are                             will only be expressed in half of the cells. In general, XX
   “coated” with large noncoding RNA transcribed from                          tissues are thought to have less extreme phenotypes than
   the X-inactive specific transcript (XIST) gene, part of the                 XY tissues, because the effects of extremely deleterious or
   XIC (X inactivation center) located on Xq13 (27, 28).                       beneficial alleles or imprints are buffered by the diversity
   But some genes escape X inactivation (termed as X                           of X alleles and imprints. For example, hemophilia A and
   escapees), and therefore are expressed more in XX than                      hemophilia B (clotting factor VIII and IX deficiencies,
   XY cells, resulting in imbalance or incomplete dosage                       respectively), are X-linked diseases that affect men, whereas
   compensation (29). About 23% of human X-linked genes                        most women are asymptomatic carriers.
   are more abundantly expressed in XX cells than XY cells
   in many tissues (30, 31). Recent evidence from mouse
   studies suggests that the inherent male-female difference in   Sexual Differentiation Caused by Gonadal and
   expression of X genes leads to significant sex differences     Nongonadal Hormones
   in disease phenotypes. For example, sex differences in         In mammals, the process of reproductive system de-
   placental Ogt expression are associated with sex differences   velopment requires the action of hormones (peptide/
   in prenatal vulnerability to stress (32). X escapee Kdm6a,     gonadotropins and steroids) from the pituitary gland,
   a histone demethylase, contributes to sex differences in       the adrenal cortex, and the gonads. Testicular develop-
   mouse models of bladder cancer (33), autoimmune disease        ment leads to secretion of Müllerian inhibitory hormone
   (34), and Alzheimer disease (35). Similarly, variations in     (MIH, also termed anti-Müllerian hormone, AMH), a
   human KDM6A are associated with prognosis of bladder           glycopeptide, and testosterone, which affects many sex dif-
   cancer or cognitive decline in female patients (33). The       ferences in nongonadal tissues (39). In contrast to the fetal
   dose of another X escapee histone demethylase, Kdm5c,          testis, the fetal ovary makes minimal steroid hormones
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(40), and ovarian function is not needed for development             preventing ovarian follicle cells from transdifferentiating
of the female reproductive system, as evidenced by the               into “testis-like” cells (11). MIH is secreted by Sertoli cells
normal female anatomy of individuals with Turner syn-                and androgenic steroid hormones, usually testosterone, are
drome, who have 45,X gonadal dysgenesis. The pioneering              secreted by Leydig cells. Testosterone and its more potent
work of Alfred Jost suggested that 2 classes of testicular           derivative dihydrotestosterone are responsible for the devel-
hormones are involved in sexual differentiation. First,              opment of the male external genitalia (46). Androgens from
testicular androgens drive the differentiation of the fetal          adrenal glands and alternative pathway androgen biosyn-
external genitalia from female morphology to that of the             thesis in the human placenta can influence virilization of the
male and are required for the differentiation of embryonic           developing fetus (47, 48). The adrenals of adult primates




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Wolffian ducts into male internal reproductive structures            also produce abundant androgens, profoundly influencing
(41, 42). Androgens, secreted by Leydig cells, are required          phenotypes, so that not all sex steroids are gonadal (see
for the differentiation of embryonic Wolffian ducts into             Boxes 1 and 2). Although the term sexual differentiation
male internal reproductive structures (epididymis, vas def-          is usually applied to the development of sex differences in
erens, ejaculatory ducts, prostate, and seminal vesicles),           genitalia and other organs such as the brain in the growing
and drive the differentiation of the undifferentiated ex-            fetus; sex differences also occur later in life during the mini-
ternal genitalia toward male morphology. Second, the testis          puberty of infancy (49), puberty, the female menstrual cycle,
produces locally acting MIH that causes involution of the            menopause in women, and andropause in men. The ac-
Müllerian ducts, which would otherwise develop into the              tions of gonadal and nongonadal hormones as well as sex
fallopian tubes, uterus, and cervix (43, 44).                        and autosomal chromosome gene products in adult people
    It was long thought that only the involution of the              causes many sex differences in health and disease.
Müllerian ducts was an active process, with the Wolffian
ducts simply involuting in the absence of androgens. Recent
evidence from mice indicates that Wolffian involution is             Influence of Gonadal Steroid Hormones and
also an active process controlled by the transcription factor        Nongonadal Hormones in Brain Development
COUP-TFII (22, 45), but the nature of any factors stimu-             Differentiation of the brain by gonadal hormones is im-
lating COUP-TFII remains unknown (22). Some aspects                  plemented during a restricted critical window, which is
of gonadal differentiation are active throughout life,               operationally defined by the onset of copious androgen



   Box 1. Steroidogenesis in gonadal and nongonadal tissues
   All biologically active sex steroids, whether gonadal or nongonadal in origin, are derived from cholesterol by the process of
   steroidogenesis. Two steroidogenic steps must be considered (for details see (50)). First, the cholesterol side-chain cleavage
   enzyme, P450scc (CYP11A1) initiates steroidogenesis by converting cholesterol to pregnenolone; expression of P450scc ren-
   ders a tissue “steroidogenic,” that is, able to make steroids de novo (51). The gonads, adrenals, and placenta express abundant
   P450scc and produce the familiar circulating endocrine steroids, but the brain, skin, and some other organs also express low
   levels of P450scc and produce steroids involved in paracrine actions. Brain steroidogenesis has been studied mainly in fetal
   rodents, with little information in other systems (52). Many nonsteroidogenic tissues (liver, kidney, fat, breast, heart) do not
   express P450scc but express other steroidogenic enzymes that modify steroids taken up from the circulation. Fat and breast
   express CYP19A1 (aromatase), permitting local production of estradiol from circulating 19-carbon (C19) steroids; this estradiol
   is important in breast cancer but is not a gonadal steroid. Similarly, prostate and genital skin express several enzymes leading
   to dihydrotestosterone, accounting for the failure of “androgen deprivation therapy” by gonadectomy in prostate cancer. Not
   all gonadal steroids are sex steroids, as both the ovary and testis secrete some “upstream” steroids that are precursors of
   the classic sex steroids. For example, dehydroepiandrosterone (DHEA) does not bind to sex steroid receptors, but it can be
   converted into testosterone and estrone. Second, synthesis of all sex steroids requires P450c17 (CYP17A1), which catalyzes
   17α-hydroxylation and the 17,20 lyase activity that changes 21-carbon steroids to C19 precursors of androgens and estrogens.
   P450c17 is abundantly expressed in the gonads of all vertebrates and in the adrenals of most vertebrates other than rodents,
   but the rodent Cyp17A1 gene is silenced by tissue-specific methylation (53). Consequently, rodents make only miniscule
   amounts of adrenal C19 steroids and also use corticosterone instead of cortisol as their glucocorticoid. In most mammals,
   P450c17 has low 17,20 lyase activity, so that their adrenals produce rather small amounts of C19 steroids, but primate P450c17
   has abundant 17,20 lyase activity, generating abundant C19 androgen precursors (DHEA, DHEA-sulfate, androstenedione) (47,
   48). Furthermore, production of these C19 steroids proceeds by different pathways in rodents and primates: primates favor
   the “Δ5 pathway,” through DHEA, whereas rodents favor the “Δ4 pathway” through 17OH-progesterone (17OHP) (50). Primate
   adrenals also produce a true androgen, 11-keto-testosterone (54), profoundly influencing phenotypes (apocrine odor; female
   sexual hair). Thus, not all sex steroids are gonadal: ~ 50% of the circulating androgens in adult women are of adrenal origin.
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     Box 2. Gonadectomy and sex steroids
     Many animal studies employ gonadectomy to eliminate the actions of sex steroids (estrogens, androgens, progestins). If
     using this approach, the investigator must consider whether nongonadal tissues will produce sufficient sex steroids to in-
     fluence the study. The gonads produce most but not all circulating sex steroids; furthermore, some tissues produce steroids
     that act locally and do not enter the circulation, hence absence of a measurable steroids in blood does not ensure absence
     of its action in the target tissue. Both sexes produce all steroids and their metabolites, hence there are no male- or female-
     specific sex hormones, per se. In male mammals, testosterone release is highly pulsatile in nature (49, 55) and in laboratory
     mice, strain-dependent variations in androgen levels are reported (56). In female rodents, circulating levels of estradiol, tes-
     tosterone, and DHT are highest in proestrus phase; a comprehensive analyses of sex steroids in intact and gonadectomized




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     rodents can be found elsewhere (57). Circulating concentrations of testosterone in adult women are similar to those of
     boys in early puberty, and estradiol concentrations in men are similar to those in mid-cycle women, but the tenfold higher
     concentrations of testosterone obscure its effects. Rodents are widely used in research, but they differ from primates in
     several important aspects of steroidogenesis (see Box 1), and hence must be used with caution in studies seeking to model
     aspects of human physiology that might be influenced by steroids. These differences include: (i) In humans, substantial
     amounts of circulating sex steroids are bound to sex hormone–binding globulin (SHBG), whereas this carrier protein is not
     present in rodent circulation (58). (ii) Dehydroepiandrosterone (DHEA) and androstenedione, 19-carbon (C19) precursors
     for testosterone and estrone, that do not bind to sex steroid receptors, are secreted from the adrenal glands, the ovary and
     testis in humans, but not rodents (59). Thus, not all gonadal steroids are sex steroids. (iii) The rodent ovarian corpus luteum
     produces progesterone throughout pregnancy but in human pregnancy the corpus luteum involutes early in the second
     trimester, after which the placenta produces the progesterone needed to suppress uterine contractility, permitting term
     pregnancy. (iv) Adrenal-specific methylation of rodent Cyp17A1 prohibits their adrenal synthesis of C19 precursors of sex
     steroids; however, changes in methylation status can occur under conditions of pathology. (v) As a further consequence
     of adrenal Cyp17A1 methylation, rodents utilize corticosterone as their glucocorticoid, whereas almost all other verte-
     brates use cortisol. (vi) Rodent adrenals use high-density lipoproteins (HDL) taken up via scavenger receptor B1 (SRB1), as
     their principal source of cholesterol for steroidogenesis, whereas primates use low-density lipoproteins (LDL) taken up by
     receptor-mediated endocytosis. (vii) Several genes encoding steroidogenic enzymes are duplicated; rodents and primates
     differ in which copy(ies) of these genes are expressed: CYP21; HSD3B, HSD17B, AKR1-3. Such differences may affect labora-
     tory results in unanticipated fashions. (viii) In rodents, nonsteroidogenic tissues such as the gut, liver, kidney, fat, breast,
     heart, thymus, skin, and the placenta have all been shown to make steroids. Thus, gonadectomy may eliminate most, but
     not all, circulating sex steroids, depending on the species being studied and may not reveal much about the paracrine ef-
     fects of sex steroids present in the tissue(s) under investigation. Nonetheless, gonadectomy is an invaluable research tool
     that helps unequivocally confirm the influence of gonadal hormones in sex differences.




production from the fetal testis. Human fetal androgen                 androgens during the critical period; if exposure occurs too
production begins at 8 to 10 weeks postconception and                  early or too late it will be ineffective at inducing masculin-
in rodents is closer to parturition, at embryonic days 16              ization. However, females are also sensitive to androgens
to 18, with birth following 2 to 4 days later. An important            during a restricted period of development, hence a sensi-
effect of this androgen surge is to masculinize the rodent             tive period in rodents. In males, the critical period closes
brain. Steady but pulsatile release of the gonadotropins lu-           shortly after androgen exposure because the cellular and
teinizing hormone and follicle stimulating hormone from                molecular processes of masculinization have been initiated
the pituitary gland support continuous steroidogenesis and             and cannot be reversed; the train has left the station. In
production of sperm (60). In female rodents, the feminiza-             both primates and rodents this process is largely prenatal,
tion of the brain proceeds in the absence of exposure to               but female rodents remain sensitive to androgen exposure
high levels of androgens or their aromatized byproducts,               into the first postnatal week. Injecting a newborn female
estrogens, a developmental strategy highly analogous to                rodent with androgens will initiate the process of mascu-
that used for masculinization of the gonads, reproductive              linization, thus she is still sensitive. After the first week,
tract, and secondary sexual characteristics, with the excep-           the feminization process cannot be overridden by andro-
tion that estrogens are actively downregulated in male ro-             gens and thus the sensitive period has closed. The existence
dents. In human females, gonadotropins from the pituitary              of the sensitive period in females is useful as a research
gland regulate ova development, induction of ovulation,                tool—it is important in understanding the potential impact
and stimulation of estradiol and progesterone from the                 of exposure to endocrine-disrupting compounds or other
ovaries (49). An important feature of this developmental               cellular agents of masculinization that act in an analo-
strategy is the existence of a sensitive period in female ro-          gous manner to androgen exposure in modulating female
dents (61). Male rodents must be exposed to high levels of             brain development. There is evidence for a later sensitive
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period for brain feminization mediated by small increases          while XY individuals with complete androgen insensitivity
in estrogens (62); this topic warrants further investigation.      identify as women (70). The disparity between the principal
The closing of the sensitive period in primates, especially        differentiating hormones in primates versus rodents suggests
humans, remains poorly understood, but it appears to end           that findings may not be easily extrapolated, and it is im-
prenatally, similar to the critical period in rodents. The         portant to specify both the hormone and species under in-
sources of androgens that females can be exposed to during         vestigation. To discern whether the biological basis of sexual
the sensitive period include from: (i) experimental inter-         differentiation of brain and behavior differs between primates
ventions; (ii) male littermates in animals; (iii) or human         and rodents, one needs to identify mechanisms by which
adrenals carrying genetic mutations in the steroidogenic           steroids transduce signals to modify the trajectory of the




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pathway (as in congenital adrenal hyperplasia).                    nervous system. While those mechanisms are incompletely
    Given that the critical and sensitive periods for sexual       understood, a few general principles are clear. First, there is
differentiation are defined by the production and response         no unified mechanism that applies broadly across the brain,
to gonadal steroids, it is not surprising that steroids are        with the exception that androgens and estrogens are the pri-
the primary drivers of developmental origins of sex dif-           mary drivers of masculinization during a restricted develop-
ferences in brain (and probably other tissues) and be-             mental window. Similar masculinizing effects of testicular
havior. But how do steroids achieve this? The first step in        androgens may also occur during puberty (71). Second, all
any investigation is often is to identify the active steroid       aspects of neural development are capable of being “organ-
metabolite(s). In rodents, circulating fetal testicular testos-    ized” or programmed by sex steroids. This includes cell gen-
terone enters the fetal brain where it can serve as a direct       esis, migration, myelination, dendritic and axonal growth
precursor for estradiol synthesis via aromatase (Cyp19A1)          and branching, synapse formation, synapse elimination,
(see Box 1). Fetal and adult neurons can aromatize testos-         and neurochemical differentiation. Effects are not limited to
terone to estradiol in a nonrandom distribution: neurons           neurons, with both astrocytes and microglia also exhibiting
of the hypothalamus, preoptic area, and amygdala are               morphological sex differences. Third, each discrete brain re-
particularly active for local estradiol synthesis, whereas         gion, nucleus, or subnucleus appears to have unique mechan-
the hippocampus and parts of the cortex, midbrain, and             isms of cellular masculinization. In some brain regions, such
spinal cord are also active at a lower level (63). For most        as the preoptic area, there are multiple separate mechanisms
reproductive endpoints, it is the local actions of estra-          at play simultaneously. Sex steroids act in both paracrine and
diol that drive neural phenotype toward masculinization,           endocrine manners to influence structural development and
which to some seems counterintuitive, given that estradiol         function (72, 73).
is so often referred to as a “female” hormone (64), and
further highlights that it is impossible to completely elim-
inate the effects of sex steroids, especially in the brain,        Biological Basis of Diversity in Sexual/Gender
by simple gonadectomy (see Box 2). Developing rodent               Development and Orientation
embryos sequester maternal estrogens by binding to circu-          Given the complexities of the biology of sexual determin-
lating alpha-fetoprotein, which is present only during the         ation and differentiation, it is not surprising that there are
critical/sensitive period; when it is genetically deleted, all     dozens of examples of variations or errors in these path-
the offspring are masculinized (65). However, in humans,           ways associated with genetic mutations that are now well
sex hormone–binding protein, not alpha-fetoprotein, is             known to endocrinologists and geneticists (74); in medi-
the major serum glycoprotein that binds androgens and              cine, these situations are generally termed disorders of
estrogens with an undetermined role in fetal sexual devel-         sexual development (DSD) or differences in sexual devel-
opment (66, 67).                                                   opment (75). DSD includes genetic disorders in the sexual
    In rodents, there is abundant evidence that gonadal an-        determination pathway (76), disorders of steroidogenesis
drogens are metabolized to estrogens in the brain and me-          (50, 77), disorders of steroid hormone action, especially
diate “masculinizing” effects on the brain; similar evidence in    androgen insensitivity syndrome (78), and less well-
primates is limited. In primates, the principal masculinizing      defined “developmental field defects” (79), such as Mayer–
agents are androgens, not estrogens, and although there is         Rokitansky–Küster–Hauser syndrome (80). The study of
alpha-fetoprotein present in fetal circulation, it has a weak      genes and factors underlying DSD and the diagnosis and
binding affinity for estradiol (68), and instead it plays a much   management of the various forms of DSD is a complex and
broader role in brain and body development (69). The con-          rapidly evolving area of endocrinology: clinical manage-
clusion of no strong role for estrogens in humans is based         ment is complex (81) and requires both contemporary mo-
on individuals with dysfunctional aromatase or androgen            lecular genetics (82) and well-integrated interdisciplinary
receptors. Males lacking aromatase still identify as men,          care (83).
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    Gender includes perception of the individual as male,                    external genitalia. In most individuals, the various bio-
female, or other, both by the individual and by society.                     logical determinants of sex are consistent with one an-
Gender identity is a psychological concept that refers to                    other, and this biological sex is also consistent with the
an individual’s self-perception; while associations between                  individual’s self-perception—the sex and gender are con-
gender identity, neuroanatomic, genetic, and hormone                         cordant. However, a substantial minority of people who
levels exist, a clear causative biological underpinning of                   do not have DSD have some degree of variation in their
gender identity remains to be demonstrated. Both animals                     self-perception of their gender, which may differ from their
and human beings have biological sex, but only humans                        biological sex; this is usually termed gender incongruence
have evident self-awareness that allows them to express                      (84). The term gender disorder has been replaced with the




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gender; self-awareness in animals has not been investigated                  term gender dysphoria which describes the distress that an
in this context. Gender also includes differences that males                 individual might feel as a consequence of having gender
and females experience in their social and physical environ-                 incongruence. Transgender (often called trans) refers to in-
ments, which can have differentiating effects on the sexes.                  dividuals who do not identify themselves as being of their
Human social environments are poorly modeled in labora-                      natal gender, whereas cisgender (cis) people do not experi-
tory animals and thus animal studies are usually limited                     ence gender incongruence (85). Readers are also referred to
to addressing sex differences. For centuries, the concept of                 Endocrine Society’s 2017 Clinical Practice Guideline and
male and female did not distinguish between biological sex                   Transgender Health Fact Sheet (84). Estimates of the preva-
differences and those caused by consistent differences in                    lence of male-to-female transgender individuals among gen-
the environments. Thus sex differences are those caused                      eral populations range from 0.5% to 1.3% and estimates
by biological factors, whereas gender differences reflect a                  for female-to-male transgender individuals range from
complex interplay of psychological, environmental, cul-                      0.4% to 1.2% (85). State level population-based surveys
tural, and biological factors (Fig. 1).                                      indicate that 0.6 % of US adults (25-64 years of age) and
    At birth, individuals are assigned a sex or gender (“natal               0.7% of adolescents and young adults (13-24 years of age)
gender”), almost always based on the appearance of the                       identify as transgender. Other studies of US high school




Figure 1. Simplified view of the factors influencing sex differences in the brain. Three broad groups of factors influence the sexually dimorphic
brain, as indicated by the broad, colored arrows. 1) Genes and genetic factors that influence the brain include both those on sex chromosomes and
autosomes, and include both the DNA itself (represented by the classic double helix) but also chemical modification of DNA (eg, methylation) and
modifications of proteins associated with DNA to form chromatin, including histones, and also changes in proteins that bind to DNA. 2) Hormones
clearly influence sexual dimorphism in the brain; these are represented by the principal sex steroids, estradiol and testosterone, but also include
other steroid and protein hormones (progestins, MIH, oxytocin, prolactin, etc). 3) The environment includes a wide spectrum of influences, including
perinatal nutrition and familial support, socioeconomic and demographic factors, intrinsic factors of brain development, age, and gender, and larger
environmental factors, such as education, profession, and societal expectations (the “gendered environment”). In addition to each class of factor
influencing the brain (bold arrows), the human brain also reciprocally influences each of these groups of factors. Furthermore, each group of factors
influences the other, as represented by the dotted arrows. Some examples include: the environment influences genes via epigenomics and genes
influence the environment by population sizes and domains; the environment influences hormones by seasonal variations and the actions of xeno-
biotics, and hormones influence the environment by promoting reproduction and consumption of foodstuffs; genes directly influence hormones by
regulating their production and action, and many hormones, including all steroid hormones, regulate gene transcription.
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students suggest a prevalence of 1.8% to 2.7% of being           specific gene has been reproducibly identified. However,
gender nonconforming or transgender (86-88). However,            such studies have suggested associations with genes
several factors may influence reported prevalence of gender      encoding steroidogenic enzymes and sex steroid recep-
dysphoria: (i) small sample sizes; (ii) differences in assess-   tors, and it is generally agreed that androgens play an
ment techniques leading to incomplete ascertainment of           important but not determinative role. For example, many
gender dysphoric individuals; (iii) unwillingness of some in-    46,XX individuals with severe virilizing congenital ad-
dividuals to respond fully and honestly, especially in older     renal hyperplasia (steroid 21-hydroxylase deficiency) are
studies or studies deriving from locales where gender in-        exposed to intrauterine testosterone concentrations typ-
congruence is a social taboo; (iv) differences in the subjects   ical of those in normal male fetuses and consequently




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ages. Sexual orientation, not to be confused with gender         have severely virilized external genitalia; nevertheless,
identity, refers to the group of persons to whom an indi-        most have a female gender identity, but about 5% to 10%
vidual is sexually attracted; both cisgender and transgender     of such individuals have gender dysphoria, an atypical
individuals may be hetero-, homo-, or bi-sexual (89).            gender identity (89, 102, 103), or atypical sexual orienta-
    Although gender is strongly influenced by environmental      tion and gender behavior (104, 105). Similarly, about half
and cultural forces, it is unknown if the choice to function     of 46,XY individuals with defects in androgen synthesis
in society in male, female, or other role(s) is also affected    who were raised as females revert to a male gender role
by biological factors (89-91). A general issue is that the as-   (106). The biological underpinnings of sexual orientation
sociation of sex, gender, or sexual orientation with specific    and gender identity are apparently related but are not the
brain structures, or with other biological variables, does       same (107). Thus, there is ample but incomplete evidence
not establish whether the biological variables are causes        for biological substrates—neuroanatomic, genetic, and
or consequences or noncausal correlates of the behavioral        hormonal—for gender orientation, making this an im-
characteristics or function of the individuals studied. Three    portant area of ongoing research.
areas of biological difference have been studied fairly ex-
tensively: neuroanatomy, genetics, and hormones. Studies
have reported differences in the hypothalamic INAH3 nu-          Hormonal Versus Sex Chromosome Effects
cleus in men vs women and in homosexual vs heterosexual          Sex differences are caused by 3 major factors—sex hor-
men (92, 93). Although initially controversial, others have      mones, genes on sex chromosomes/autosomes, and envir-
confirmed sex differences in INAH3 numbers, not in size          onment (Fig. 1). To understand disease mechanisms in both
or densities, whereas no evidence for sexual dimorphism          sexes and exploit sex differences in protection or exacer-
of any other INAH structures are reported (94). Studies in       bation of diseases, it is important to determine the rela-
people with gender dysphoria found that the phenotypes           tive contribution of each of these factors in causing sex
of specific brain structures, such as the bed nucleus of the     differences (17). Many sex differences caused by gonadal
stria terminalis, of transgender women and transgender           hormones have been discovered by measurements of sex
men differ from cisgender men and women, with partial,           steroids and gonadotropins during human development,
but incomplete sex reversal of sexually dimorphic struc-         and in animals by similar measurements or by interven-
tures (95). Brain networks involved in one’s body percep-        tional methods, such as gonadectomy, hormone adminis-
tion, (pregenual anterior cingulate cortex, temporo-parietal     tration, or the expression of synthetic enzymes or receptors
junction, and fusiform body area) differ in individuals          in transgenic mice. Sex steroids play an integral part in
with gender dysphoria compared with cisgender individ-           many physiological processes (Box 1). Whereas the gonads
uals (96-98). Neuroimaging shows that testosterone treat-        are the major site of sex steroid synthesis, the adrenals, pla-
ment resulted in functional and structural changes in brain      centa, brain, and skin can also initiate steroidogenesis, and
areas associated with self-referential and own body per-         steroid-modifying enzymes are found elsewhere, especially
ception (99). Transgender men have thicker medial pre-           in liver and fat, permitting synthesis of sex steroid hormones
frontal cortex than cis men. Testosterone treatment does         in multiple other sites (50). Thus, animal gonadectomy
not change prefrontal cortex thickness in transgender men,       may provide information about endocrine effects of go-
but it has other effects on cortical thickness, connectivity,    nadal steroid hormones but cannot address tissue-specific
and fractional anisotropy (99).                                  paracrine effects (Box 2). Moreover, gonadectomy cannot
    Genetics may play a role in gender identity (100):           mimic low pre-pubertal levels or physiological conditions
monozygotic twins have 39% concordance for gender                in which hormone levels decrease, such as aging or meno-
dysphoria (101). Attempts to identify specific genes             pause. Manipulations of human gonadal hormones are
governing gender identity have been plagued by small             routinely used in contraception and in the management of
numbers of subjects and low statistical significance; no         sex steroid–dependent cancers (eg, breast, prostate). When
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a sex difference is discovered in human disease, and mod-                                 Four Core Genotypes
eled in animals, the investigation of possible hormonal
                                                                                            XX         XY‒(Sry+)
causation of the sex difference is usually the first option
considered.
    To detect effects of sex chromosomes that cause sex dif-
ferences, one can compare people who have differences in
their sex chromosomes, revealing effects of X or Y chromo-            genotype                          XY – XX(Sry+) XY‒(Sry+)
                                                                                            XX
some number (108-110). These results strongly suggest
                                                                      abbreviation  XXF                XYF         XXM         XYM
direct sex chromosomal contributions to sex differences in




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                                                                      Sry transgene  -                  -           +           +
cell function. Comparison of brains of XY patients with
complete androgen insensitivity (who are phenotypically               gonads             ovaries ovaries          testes      testes
female), with brains of control XY males and XX females,              Y chrom               -       +                -          +
suggests that cortical thickness and functional connectivity           X chrom             two     one              two        one
between the limbic regions and the cortex are influenced
not only by testosterone actions, but by sex chromosome                                    2 x 2 Comparisons
factors as well (111). However, changes in the sex chromo-
some ploidy also alter gonadal hormones, so it can be dif-                             sex chromosome effect
ficult to isolate sex chromosome effects not mediated by
gonadal hormone effects. Circulating human embryonic/
fetal sex steroid concentrations are poorly characterized,                                   XXF       XYF              gonad effect
and the tissue concentrations are almost totally unknown.
Another approach is to use mice to identify genes on the X                                  XXM        XYM
or Y chromosome that act outside of the gonads to cause
sex differences, and then seek evidence that the orthologous        Figure 2. Schematic diagram of the Four Core Genotypes mouse
human genes cause human sex differences. Controlled ex-             model. The testis-determining gene Sry is deleted from the Y chromo-
periments are possible in which XX or XY mice with com-             some, producing the Y‒ chromosome. An Sry transgene is inserted
                                                                    onto chromosome 3. Thus, the type of gonad is no longer linked to the
parable gonadal hormones can be compared. A frequently
                                                                    sex chromosomes. The model produces XX and XY mice with Sry and
used model is the Four Core Genotypes (FCG) model, in               testes, and XX and XY mice without Sry, with ovaries. Sex differences
which the testis-determining mouse Sry gene is deleted              in phenotype can be attributed to an effect of gonadal hormones, com-
from the Y chromosome (creating the Y− or “Y minus”                 paring mice with ovaries and testes, or to an effect of sex chromosomes,
                                                                    comparing XX and XY mice with the same type of gonad. [Modified
chromosome) and inserted as a transgene on chromosome
                                                                    with permission from Arnold AP & Chen X. Front Neuroendocrinol,
3 (Sry+) (Fig. 2 and Box 3) (112). The utility and limitations      2009; 30(1) © Elsevier Inc. (112)].
of these models have been extensively discussed (113, 114).
                                                                    from studies comparing groups of men with groups of women.
                                                                    It is therefore difficult to disentangle the specific contribu-
Considering Sex and/or Gender as Variables in                       tion of sex-related genes, hormones, gender-related variables,
Health and Disease                                                  and other variables that contribute to being female or male.
Women and men differ in many physiological and psycho-              Because sex has long been defined by gonadal type, the list of
logical variables. It is important to establish the mechanisms      sex-influencing factors has been primarily associated with go-
causing such differences in health and disease, and to consider     nadal hormones, especially estrogens, progestins, and andro-
sex-related variables in studies of human health and disease.       gens (121). However, some phenotypic sex differences develop
These variables include, but are not limited to, sex- and gender-   before the gonads differentiate as testes or ovaries (122), so
related factors. The inability to control all variables in human    other factors also contribute to sex differences (123) but are
studies means that it may be impossible to determine the rela-      seldom considered.
tive roles of environment and biology in causing a difference           Sex is an essential part of vertebrate biology, but gender is
between women and men, when both types of variable can              a human phenomenon; sex often influences gender, but gender
influence the trait. Furthermore, while “gender expression/         cannot influence sex. Studies of animal physiology must con-
behavior” can be observed, “gender identity” can only be            sider sex as a variable (124), with sex steroids (of both gonadal
known by what an individual states. Thus, gender identity, per      and nongonadal origins), sex chromosomes, and other factors
se, cannot be studied in animals. In human studies, it is un-       contributing to sex differences in many physiologic processes.
ethical to selectively manipulate specific biological and envir-    Similarly, studies of human physiology and disease must also
onmental variables, and most currently available data derive        consider sex for the same reason (125) and its disorders must
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   Box 3. Investigating sex chromosome complement versus gonadal hormones in health and disease: the four core
   genotypes (FCG) model
   The FCG model allows for discriminating hormonal vs sex chromosome effects in animals. Gonadal males (XY−(Sry+)), bred
   to XX gonadal females, produce 4 types of offspring: XY− and XX mice with the Sry transgene and testes, and XY− and XX
   gonadal females lacking the Sry gene (Fig. 2). Thus, it is possible to compare XX and XY mice with the same type of gonad,
   in 2 separate comparisons. Differences between XX and XY are attributed to effects of sex chromosome genes acting on
   nongonadal tissues. To determine if this sex chromosome effect is caused by X or Y genes, a second model is studied, the
   XY* model (113, 114). This model produces genotypes that are similar to XO, XX, XY, and XXY. An effect of number of X




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   chromosomes is discovered by comparing XO and XX, or XY and XXY. An effect of the Y chromosome genes is discovered
   by comparing XO and XY, or XX and XXY. These mouse models have been used to demonstrate sex chromosome effects
   causing sex differences in a wide variety of phenotypes and disease models, including brain and behavioral phenotypes,
   metabolism, autoimmune, cardiovascular and pulmonary diseases, Alzheimer disease, aging, and cancer (35, 113, 115).
   These models have facilitated discovery of several disease phenotypes in which the number of X chromosomes contributes
   to sex differences (116), and a smaller number of sex-biasing effects of Y genes (117). Sex chromosome effects occur in the
   same disease systems alongside sex-biasing effects of gonadal hormones, such that the 2 effects can synergize to increase
   the amount of sex difference, or counterbalance each other to reduce a sex difference. Moreover, genes encoded on the Y
   chromosome can have gene-specific effects, and/or effects that overlap with those of X genes (118). In the cardiovascular
   system and associated physiological/disease states, sex chromosomes and gonadal hormones can have opposing effects.
   Estrogens generally protect from cardiac ischemia/reperfusion injury and other cardiovascular diseases, reducing disease
   in female relative to male mice. However, studies of ischemia/reperfusion injury in gonadectomized FCG mice reveal that
   the XX sex chromosome complement is associated with worse outcomes, relative to XY (119). In another study, sex chromo-
   some effects in angiotensin II-induced hypertension showed that arterial pressure was greater in gonadectomized XX mice
   than in gonadectomized XY mice (120). Sex chromosome complement also influences the development of abdominal aortic
   aneurysms, fat metabolism and adiposity, plasma lipids and lipoprotein levels (particularly HDL-C) (115)).



also consider gender. However, human gender is a spectrum           conditions, anesthetics, analgesics (different effects in sexes),
from feminine to gender-neutral to masculine, and also likely       doses, surgical manipulations, diet, sex, strain, species, and age
includes individuals who do not fit readily on a simple linear      of animals used, as well as sex/gender of the researcher(s) per-
continuum (84). Studies addressing the endocrine care of            forming experiments.
transgender youth during the time of their potential gender             Having laid the foundation for several factors that con-
transition (84, 89) find that they have a higher prevalence of      tribute to sex versus gender, this Statement will use 3 areas of
stress-associated mental health disorders such as depression        research as examples (not as a literature review) where human
and anxiety, which can be ameliorated by gender-affirming           and animal sex differences are well known. First, sex differ-
endocrine treatment (126). It is essential to recognize these sex   ences in specific brain regions of healthy men and women are
and gender differences as our health care systems endeavor to       increasingly being documented along with differences in brain
develop “individualized medicine.”                                  connectomes; these will be discussed in detail in Section II.
    Despite the fact that biological sex is such a fundamental      Second, stress-related pathophysiologies are known to affect
source of intraspecific variation in anatomy and physiology,        twice as many women as men. However, few studies system-
much basic and clinical science has tended to focus studies         atically include study designs to ascertain function or mech-
on one sex (typically male). Few studies have done side-by-         anisms that may be similar or different between males and
side testing for sex differences at baseline and in experimental    females. Hormones and signaling pathways that contribute to
models of human diseases (127-129). Studies in laboratory           sex-specific differences in stress-based pathophysiologies will
animals that manipulate biological (eg, genes and hormones)         be discussed in Section III. Similarly, sex differences in mani-
and environmental variables (eg, housing conditions, diet,          festation of cardiovascular and renal diseases are well recog-
physical activity, etc) demonstrate that many variables can af-     nized and will be discussed in Section IV.
fect sex-related aspects of an animal’s physiology. However,
laboratory rodents may show male-female differences caused
by different housing conditions, which could be misinterpreted
                                                                    Section II
as being caused directly by biological differences without
environmental mediation. In studies concerning animal be-           Developmental Origins of Sex Differences in
havior, the sex and gender of the researcher conducting be-         Brain Anatomy, Function, and Behavior
havioral measures may also influence outcomes (130). Thus,          Sex differences in the human brain are a topic of intense
for reproducibility and proper interpretation of the data, at       popular and scientific interest. Several scientific observations
the minimum, it is important to state the precise housing           motivate the search for sex differences in brain structure
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and function. First, the act of sexual reproduction requires        sMRI an especially popular technique in the study of brain
that the male and female animals show qualitatively dif-            sex differences in humans. First, sMRI allows a quick and
ferent reproductive behaviors. The stereotyped emergence            spatially comprehensive screen of the entire brain that can
of these reproductively critical and sexually differentiated        quantify thousands of morphometric properties simultan-
behavior reflects biologically programmed (or “innate”)             eously in vivo across a large number of individuals. These
sex differences in the organization of those brain circuits         characteristics not only facilitate testing for sex differences
that support the motivational and consummatory phases               outside defined regions of interest, but also allow longitu-
of copulatory behavior (131). Second, the fact that males           dinal measurements that can track the emergence of brain
and females make different biological investments in repro-




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                                                                    sex differences over development (136, 137). Second, be-
duction—eg, the risks of pregnancy in mammals are borne             cause sMRI considers structure rather than function, it can
entirely by the female—sets up sex differences in the be-           leverage evolutionary conservation of the basic mammalian
havioral strategies that optimize reproductive fitness (132).       brain plan (138), and it is therefore particularly well-suited
Sexual selection based on sex-biased behavioral strategies is       for cross-species investigation of sex differences in humans
predicted to drive the evolution of sex differences in those        and animals. Thus, a critical role for sMRI research in the
brain circuits that are responsible for sexually selected be-       study of brain sex differences is to screen for brain regions
haviors. Third, males and females can show consistent sex           that can then be prioritized for closer analysis using more
biases in broader behavioral domains beyond those that dir-         resource-intensive assays that are typically applied in a re-
ectly relate to reproductive strategies. In our own species for     gionally selective manner.
example, there are highly consistent sex differences in the             Complimenting sMRI, other in vivo neuroimaging tech-
prevalence of physical aggression and violence (both male-          niques such as diffusion MRI (dMRI), resting state func-
biased) (133), as well as extensively documented sex differ-        tional MRI (rs-fMRI), and fMRI provide unprecedented
ences in risk for different mental disorders (134).                 insights into tissue microstructure and brain connectivity.
    In this section, we will first describe the main neuroimaging   fMRI maps brain circuitry based on stimulus- or task-
techniques commonly used in comparisons of brain anatomy,           based brain functional responses. In contrast, rs-fMRI, by
connectivity, function, and subnetwork organizations. We            measuring changes in blood flow in the brain generated by
then review the key aspects of sex-biased brain anatomy and         signals dependent on blood-oxygen-levels, helps explore
connectivity that have been revealed by these techniques; sex       the brain’s functional organization by providing insights
differences in stimulus-based or task-based functional mag-         into intrinsic brain activity without requiring participants
netic resonance imaging (fMRI) studies are not addressed            to be trained in specific tasks, thereby eliminating task
here. Next, we discuss specific disease states that appear to       performance as a confounder (139, 140). dMRI measures
have different outcomes in the 2 sexes due to baseline dif-         the differential patterns of water diffusivity in biological
ferences in the “connectome” and animal models used in              tissue revealing details of tissue microstructure, especially
neuroimaging. Finally, we will address some important cav-          in white matter (141). Fiber tractography on dMRI en-
eats and controversies in the field of brain imaging.               ables mapping the fiber architecture of the brain, and sub-
                                                                    sequently, the network organization of the brain through
                                                                    structural connectomes (142-144). A brain connectome
Brain Imaging Techniques                                            is an extensive map of the white matter structural or
Modern neuroimaging methods make it possible to charac-             functional connections of the brain, created using dMRI
terize diverse aspects of brain structure, function, and con-       or rs-fMRI (145). Modeling efforts, such as the Human
nectivity in vivo. This large toolbox of methods has been           Connectome Project, and the use of connectome-based pre-
used to examine sex differences in brain organization at sev-       dictive modeling, have provided an integrative, in-depth,
eral levels of analysis. These techniques aim to analyze, map,      and multilevel understanding of the structural and func-
and visualize regional and inter-regional (connectomic)             tional connectivity (regions that get coactivated) of the
features of the brain at macroscopic (systems-level) and            neuronal networks (146, 147).
mesoscopic (neural circuit architecture) levels in order to il-
luminate brain organization in health and disease (135). Of
note, cellular-level details are beyond the resolution of most      Sex Differences in Global and Regional
in vivo brain imaging techniques.                                   Brain Anatomy
    Sex differences in global and regional brain anatomy            It is well established that men have an average total brain
can be measured in vivo using structural magnetic reson-            volume that is approximately 10% greater than that of
ance imaging (sMRI). Several considerations have made               women (148, 149). A similar sex difference in average
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human brain volume (~8%) appears to be present at birth                          there is concordance between sex differences in brain size
(150) and is sustained throughout childhood and adoles-                          and any observed associations between brain size and pu-
cence (151). The sex differences for total brain volume                          tative biological causes of sex differences, such as gonadal
also hold for the 2 main subdivisions of brain tissue—gray                       or sex chromosome status (see below).
matter and white matter—despite these 2 brain compart-                               The patterning of sex differences in behavior and mental
ments following very different developmental trajectories                        illness risk across the lifespan suggest that sex differences
(151, 152) (Fig. 3).                                                             in human brain organization are likely to vary across dif-
    The robust sex difference in brain volume identified                         ferent brain sub-systems or regions, and potentially also
through human sMRI research cannot be fully explained                            across different developmental periods. Structures in




                                                                                                                                                                 Downloaded from https://academic.oup.com/edrv/advance-article/doi/10.1210/endrev/bnaa034/6159361 by guest on 12 March 2021
by the fact that brain volume is positively correlated with                      human gray matter compartments mediate neural com-
height (average height is greater in men that in women).                         putation and information processing—in contrast to
Statistical control for body size diminishes, but does not re-                   axon-rich white matter compartments that are primarily
move, sex differences in total brain volume (149), and boys                      involved in connectivity between different brain regions
also show greater average brain volume than girls during                         (see “Sex Differences in Brain Network Organization:
early adolescent development, at a time when girls are taller                    The Brain Connectome,” below). Here, we focus on sMRI
than boys (153). Thus, available literature supports a con-                      studies that have tested for sex differences in regional gray
sistent picture in which there is overlap between the distri-                    matter volume (regional GMV) after controlling for sex
bution of brain size in men and women, but the mean of                           differences in overall brain size. Regional GMV sex dif-
this distribution is significantly greater in men than women.                    ferences that survive statistical correction for total brain
The medium effect size of sex on brain volume exists above                       volume variation are of special interest because they exist
and beyond sex differences in stature. However, it is im-                        beyond global sex differences in brain size. We emphasize
portant to note that no known functional sex differences                         GMV rather than other morphometric properties of the
associate with the sex difference in overall brain size. Sex                     brain such as cortical thickness, sulcation, or the shape of
differences in overall brain size, and their developmental                       subcortical structures (144, 154), because GMV provides a
timing, are both theoretically and methodologically im-                          common metric that can be examined across cortical and
portant when considering: (i) whether neuroanatomical sex                        subcortical structures, with equal applicability to humans
differences are conserved across species; (ii) whether there                     and mice. Independent large-scale human sMRI studies
are sex differences in regional brain anatomy above and be-                      in biobanks have identified a reproducible pattern of sex
yond sex differences in overall brain size; and (iii) whether                    differences in regional GMV using sample sizes that are




Figure 3. Developmental trajectories for total brain tissue volume, gray matter volume, and white matter volume in men and women over
Development. Person-level data are shown for women (red) and men (blue) as points, with lines linking measures from the same person over time.
Note the large interindividual variation in volumes within each sex, and the overlap of these distributions, between the sexes. Superimposed on
these person-level data are group-level best fit volume trajectories (bold lines with shaded 95% confidence intervals). The developmental window
covered is 5 to 25 years of age. For all plots, there are statistically significant sex differences in both trajectory shape (ie, sex differences in the tempo
of volume change, P < 0.00001), and trajectory “height” (ie, sex differences in absolute volume across ages, P < 0.00001). [Adapted with permission
from Giedd JN et al. Neuropsychopharmacology, 2015; 40 © Springer Nature (153)].
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significantly larger than those used in earlier work (148,       An important technical challenge in assessing the degree
149, 155). A structural neuroimaging study involving             of anatomical homology between regions of sex-biased
>2000 individuals demonstrated that higher regional ex-          brain anatomy in humans and mice is that most of the best-
pression of sex-linked genes was coupled with greater            established and histologically validated foci of sex-biased
GMV in men relative to women (155). These studies, by            brain volume in mice (eg, bed nucleus stria terminalis,
different laboratories, using different datasets and different   medial preoptic nucleus of the hypothalamus) are hard to
techniques for sMRI analysis, find a largely overlapping re-     image in humans due to their small size and intrinsic tissue
gional pattern of GMV sex differences after correction for       contrast properties.
sex differences in total brain volume. These independent




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replications of regional sex differences in GMV are also
in agreement with meta-analytic studies (156). Together,         Sex Differences in Brain Network Organization:
these studies show that, in adulthood, regional GMV is           The Brain Connectome
(on average): (i) greater in women than men within su-           The structural or functional brain network is represented
perior parietal, dorsolateral frontal, and anterior cingu-       by a “connectome,” wherein the structural or functional
late cortices; and (ii) greater in men than women within         connectivity between coactivated regions is encoded ei-
occipital, fusiform, and parahippocampal cortices as well        ther through fiber tracts or functional co-activations (160).
as the amygdala and putamen. Furthermore, while these            These connectomes can be studied at the level of subnet-
studies lack temporally resolved developmental maps of           works like visuospatial, auditory, cognitive control, or
male-female differences in regional GMV throughout the           macro-scale level through global measures of network seg-
brain, there is extensive evidence from focused studies of       regation, integration, and efficiency, to obtain functional
particular structures that neuroanatomical sex differences       associations (161).
can vary dynamically over development, such as observed              A study of 949 individuals (aged 8-22 years; 428 males
with amygdala volume and shape (156).                            and 521 females) showed that on average, there are sig-
    The rapidly expanding body of sMRI research on re-           nificant differences between the sexes in their structural
gional GMV sex differences in the murine brain shows im-         connectomes (Fig. 4) (162). On average, men had greater
portant overlaps and differences with findings from human        within-hemispheric connectivity, as well as enhanced net-
studies (137, 157). These murine sMRI studies—which are          work segregation, whereas between-hemispheric connect-
most commonly conducted ex vivo at a spatial resolution          ivity and network integration predominated in women (Fig.
of <100 μm throughout the whole brain—have been able             4A), but these differences were most prominent during ado-
to confirm the identification of all classically sexually di-    lescence (Fig. 4B-4D). However, an opposite trend was seen
morphic nuclei of male-biased volume from prior histo-           for cerebellar connections, which developed differently be-
logical research, including the bed nucleus of the stria         tween human males and females in adolescence and adult-
terminalis and medial amygdala (137, 157). These brain           hood. The structural connectivity findings were consistent
regions play a predominant role in modulating social and         with a behavioral study conducted on the parent cohort
goal-directed behaviors, pain, and cardiovascular control,       (the above-mentioned imaging study was performed on a
all of which are conserved among mammalian species and           subset of participants), with women outperforming men
subject to sexually dimorphic outcomes. By allowing a            on attention, word and face memory, and social cognition
full-brain screen, murine sMRI has also newly identified a       tasks, and men performing better on spatial processing and
reproducible set of regions with greater GMV in females,         motor and sensorimotor speed tasks (163). An analysis of
including the cerebellar cortex, ventral thalamus, and som-      the Human Connectome Project rs-fMRI data identified
atosensory cortex (137, 157). Furthermore, a longitudinal        age and sex as independent variables that contributed to
sMRI study in mice found that the set of regions with            differences in functional connectivity (164). In brains of
male-biased GMV can be detected by early postnatal life          men, functional connectivity was more clustered locally
(with some accentuating over puberty), whereas regions of        in all lobes, except in the cerebellum, whereas the brains
female-biased GMV in murine adulthood appear to emerge           of women showed a higher clustering coefficient at the
in adolescence (137). To date, there are no studies that for-    whole-brain level. Thus, brains of men were classified as
mally seek to compare the spatiotemporal patterning of re-       more segregated and brains of women as more integrated,
gional GMV sex differences in humans and mice, although          which agrees with the structural connectivity findings
existing work already suggests some potential homologies,        (162). In connectomes, the identification of subnetwork
including foci of greater cerebellar cortex GMV in females       properties (165) can reveal how the complex functional
vs males by adulthood (137, 148) and the adolescent ac-          and behavioral repertoire emerges from the simultan-
centuation of male-biased amygdala volume (158, 159).            eous processes of segregated neuronal clusters and their
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Figure 4. Sex differences in structural connectomes across development. Connectomes representing the white matter structural connectivity in
the brain, with nodes indicating the brain regions and edges between the nodes representing the structural connectivity between the nodes. Node
colors representing respective brain regions are as follows: dark blue, frontal; cyan, temporal; green, parietal; red, occipital; white, subcortical. The
depicted edges shown are those that survived permutation testing at P = 0.05. A, shows increased intrahemispheric connectivity in men (Upper, in
blue) and increased inter-hemispheric connectivity in women (Lower, in orange) on average. B-D: Connectivity differences shown in A separated by
age groups are shown: B, under 13 years, C, adolescent (13-18 years), and D, young adults (18-22 years). Left image: Men/Boys; Right image: Women/
Girls. [Adapted with permission from Ingalhalikar M et al. Proc Natl Acad Sci U S A, 2014; 111(2) © National Academy of Sciences (163)].



integration during complicated cognitive tasks (166, 167).                     navigation experience associated with hippocampal volume
Consistent with the behavioral findings on sex differences,                    in taxi drivers alone, but they were significantly worse
men had increased connectivity between motor and sen-                          at acquiring or retrieving novel visuo-spatial informa-
sory (auditory) systems, along with increased connectivity                     tion than bus drivers. Importantly, no differences in other
in the fronto-parietal and cingulo-opercular systems that                      GMV, including the caudate nucleus, were found between
are traditionally associated with complex reasoning and                        the taxi and bus drivers; the caudate nucleus is associated
control, whereas women had higher connectivity between                         with a myriad of cognitive and emotional functions. These
reward, memory, and sensory (auditory) systems (163,                           studies illustrate brain plasticity and that professional
168). Better spatial skills in men and improved memory                         work and years of performing certain tasks can result in
and social cognition skills in women have been reported in                     brain structural, volume, and connectivity differences that
behavioral literature (169, 170).                                              may have little to do with sex or gender per se, but more
   It is important to point out that observed group-level                      with training, social environments, and behaviors. In other
differences in brain structure, function, or connectivity in                   studies, GMV changes were greater in professional musi-
men and women may reflect the influence of several ex-                         cians, or after induced training (juggling for 3 months), and
traneous factors. For example, in a set of elegant studies,                    in early bilinguals, and white matter volume changes were
brains of men were imaged to ascertain the contribution                        found in adults learning a second language, irrespective of
of performing complex spatial navigation tasks as part                         sex, when reported (173-176). These findings suggest that
of their daily work on gray matter volume. These studies                       brain structure retains its plasticity and controlling for fac-
found that posterior hippocampi of London taxi drivers                         tors other than sex or gender are key in interpreting data on
were significantly larger compared with controls (171), al-                    structural volumes and associated functions.
though the work did not address sex differences. Driving                          The above-mentioned existing datasets did not collect
a taxi in London before the era of digital maps/navigation                     the requisite information on self-report of gender, thereby
systems required extensive training and learning to navigate                   precluding retrospective analysis of gender in these cases.
complex routes before being given a license to operate. In a                   As identifying correspondence between behavioral scores
subsequent study, comparison between London taxi drivers                       and the regions that are involved in the manifestation of
and bus drivers matched and controlled for age, education,                     that behavior remains challenging, analyses of subnet-
intellectual, and stress levels, as well as years of driving                   works pertaining to functional and behavioral domains
experience, showed that taxi drivers had greater GMV in                        can help elucidate a brain-behavior correspondence. The
the posterior and less volume in the anterior hippocampi                       detailed description of sex differences in brain organiza-
compared with bus drivers (172). Interestingly, years of                       tion at the group level, and concerted efforts to specify
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the role of sex-biased biological factors in shaping such      reward anticipation, dopamine signaling, and addiction-
sex differences, is of fundamental importance (177) and        like behaviors (193-196). Greater activity in brain regions
also provides a crucial adjunct for indispensable studies      of the extended reward network may drive obesity-related
on environmental and wider societal contributions to sex-      behaviors, such as greater responses to food odors and food
biased brain development. Such studies should be under-        consumption (197-199). Recent meta-analyses have further
taken jointly using structural and functional connectivity.    supported the role of the brain in disrupting the balance
These studies elucidate the various ways in which sex dif-     between energy consumption and expenditure. This com-
ferences in brain microstructure and connectivity can be       bination of increased activity in regions associated with
investigated.                                                  reward-driven behaviors and decreased activity in regions




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                                                               moderating top-down control of appetite may lead to con-
                                                               sumption of excess calories (188).
Sex Differences in Structural and Functional                       Furthermore, sex-specific activations in response to
Brain Regions in Obesity                                       food intake have been observed in cognitive, emotional,
The hypothalamus has long been known as the “center”           and reward-related regions (200-202). For example, obese
where peripheral and neural signals converge in the regu-      men had greater activation than obese women in the sup-
lation of food intake and energy homeostasis in both           plementary motor area, precentral gyrus, fusiform gyrus,
sexes. Advances in neuroimaging studies have helped            and inferior parietal lobule, which are associated with
identify activation of several distinct brain regions com-     motor control, visuospatial attention, and responding to
prising brain networks in response to eating in men and        salient new or alerting stimuli (203). In this same study,
women. Behavioral and sociocultural factors may play a         obese women showed greater activation than obese men
role in the observed sex differences in ingestive behaviors,   in the caudate and parahippocampal gyrus, regions impli-
appetite, and cravings related to obesity (178). Women         cated in reward processing and memory (203). Using graph
report higher prevalence of maladaptive ingestive behav-       theory to define the underlying architecture of brain struc-
iors such as binge eating, food cravings, and “food ad-        tural connectivity obtained from diffusion tensor imaging,
diction,” and the lifetime prevalence of disordered eating     sex differences were observed in the topological measures
behaviors are about 3 times higher in women than in men        of centrality (which determine the degree of information
(179, 180). Women also experience episodes of food crav-       flow in specific brain regions) in regions of reward and sali-
ings of greater intensity (181, 182), and greater frequency    ence networks in women, and in reward and sensorimotor
(183-185), and are less able to suppress food cravings than    networks in men (204). Resting state fMRI studies have
men (184, 186). Despite the wealth of data indicating that     found sex differences and commonalities in body mass
women experience disproportionately higher rates of food       index (BMI)-related connectivity associated with specific
cravings, stress eating, and eating disorders than men, the    defined regions of interest in the reward network (205). For
reasons for these differences are incompletely understood      example, women had increased associations between BMI
(184, 187).                                                    and increased connectivity in the in right globus pallidus
    Regulation of food intake entails both homeostatic and     and bilateral putamen. In men, BMI was associated with in-
nonhomeostatic factors (188). Homeostatic regulation           creased connectivity in the medial frontal cortex. A study of
balances energy needs with energy consumption, whereas         sex differences in response to visual and auditory food cues
nonhomeostatic regulation—in particular hedonic regu-          found that women experience greater activation in lateral
lation and food addiction—involves reward-seeking be-          and dorsolateral prefrontal and parietal cortical regions in-
haviors that drive humans and animals to consume food          volved in cognitive planning and executive guidance and
beyond their metabolic needs, leading to the development       evaluation of behavior, compared with men (202). When
of obesity (189-191). These findings have directed atten-      viewed together, these studies highlight the importance of
tion toward the extended reward system in obesity-related      investigating sex differences in obesity-related alterations
research, which consists mainly of basal ganglia regions       in the core and extended reward networks.
and is involved in dopamine signaling and addiction-like           Although many single-sex studies of fMRI and obesity
behaviors (192). The extended reward system is composed        have been published, with the majority having all-female
of 6 interconnected brain networks—salience, central auto-     subjects, few studies have specifically investigated sex dif-
nomic, basal ganglia, somatosensory, executive control,        ferences in brain function and structure in obesity. Despite
and emotional regulation (192).                                the literature supporting sex differences in the brain,
    Functional MRI studies have found that, in response        including in regions implicated in reward behaviors and
to food images, obese individuals show greater activation      energy homeostasis, few comprehensive reviews of sexu-
than normal-weight individuals in regions associated with      ally dimorphic brain signatures related to obesity have
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been performed. A recent meta-analysis using an activation        with regions of normal sex differences in murine GMV (eg,
likelihood estimation approach to evaluate comparisons in         cerebellar cortex and bed nucleus of the stria terminalis),
functional responses to stimuli by obesity and by sex re-         and some brain regions were anatomically sensitive to both
vealed differential sex- and BMI-related activations in re-       effects (basal forebrain and periaqueductal gray matter).
ward anticipation and response, in shaping food-related           Sex-chromosome effects on regional gray matter anatomy
memories, and in generating top-down control of appeti-           have also been reported by complementary sets of sMRI
tive processes. Together, these findings have important im-       studies in both mice and humans that compare groups of
plications for sex-specific obesity treatments.                   euploid individuals with groups carrying X-chromosome
                                                                  aneuploidy (157, 212). Finally, in both mice (137) and




                                                                                                                                    Downloaded from https://academic.oup.com/edrv/advance-article/doi/10.1210/endrev/bnaa034/6159361 by guest on 12 March 2021
                                                                  humans (155), the spatial patterning of sex differences in
Models to Study Sex Differences in Normal Brain                   regional GMV in adulthood appears to be preferentially
Structure and During Pathophysiology                              aligned with the spatial patterning of sex-chromosome
Studies of sex differences offer important considerations         gene expression—which points toward a potential role of
for personalized medicine. The prevalence, clinical presen-       sex-linked genes in the establishment of maintenance of re-
tation, and symptomatic progression of many neurological          gional GMV sex differences. These studies emphasize the
and psychiatric disorders are remarkably different between        need for integrative models that view biological contribu-
the sexes. In addition to common X-lined mental retard-           tion to sex-biased brain development as a developmental
ation syndromes, men have a greater prevalence of neuro-          dance of coordinated influences from both gonads and sex
psychiatric disorders such as autism, attention-deficit/          chromosomes.
hyperactivity disorder (ADHD), and Tourette syndrome
(206), whereas women have a greater prevalence of mood
and eating disorders (207, 208). From the perspective of          Caveats and Critiques Relating to Neuroimaging
developmental disorders, the differences in the develop-          of Brain Sex Differences
mental trajectories of the sexes perhaps represent different      While several sMRI studies apparently establish that there
vulnerabilities of maturing brain circuitry, leading to dif-      are highly reproducible male-female differences in regional
ferences in symptoms, onset, and severity of neurological         gray matter volume after controlling for variation in total
disorders. There are also sex differences in the risk factors,    brain size in humans, this conclusion should be considered
average age of onset, and prevalence of late-life dementias,      in the light of several important caveats and critiques to
as well as cerebrovascular disease (209). Additionally, in        avoid misinterpretation. First, all sMRI phenotypes that
traumatic brain injuries, where the network organization          show reproducible and statistically significant sex differ-
of the brain is affected by the injury, such as the corpus cal-   ences also show a considerable overlap between men and
losum region, sex differences in inter-hemispheric connect-       women. This overlap is illustrated by total brain volume:
ivity and brain subnetworks may influence the impact of           total brain volume averages 10% greater in men than
injury, and hence subsequent recovery. Thus, sex differences      women, but many women have a total brain volume above
in brain connections are crucial to identify, as they may elu-    the 30th centile for male brain volume, and many men have
cidate mechanisms in disease risk and potential treatment         a total brain volume below the 30th centile for female brain
and recovery (210).                                               volume (149). Sex differences in brain structure and or-
    Most models of sex-biased mammalian brain develop-            ganization are present across the lifespan and vary based
ment are based on experimental data from rodents (now             on age, so inferences should be drawn cautiously. Thus,
largely from mice, but previously also from guinea pigs           while total brain size shows a robust mean difference be-
and rats). One of the most systematic dissociations of go-        tween men and women, an individual’s total brain volume
nadal and chromosomal contributions to sex-biased ana-            is a weak predictor of biological sex. These 2 facts arise
tomical brain organization in mammals is provided by              because biological sex is only one source of variation in
a recent sMRI study of adult mice from the FCG model              brain size (149), and other factors/variables that influence
(112, 211). By combining sMRI with behavioral assays,             total brain size are unknown and/or hard to model statis-
these studies determined the contribution of sex chromo-          tically (Fig. 1). By extension, because sources of anatom-
somes and gonads to adult mouse brain structure and               ical variation can differ between brain regions—the same
function (211). This study revealed: (i) an effect of sex         individual can have GMV values that appear to be “sex-
chromosomes on regional GMV in the cerebellar cortex              typical” in one region, but “sex-atypical” in another (when
and olfactory bulb; and (ii) an effect of gonads on regional      typical and atypical are defined by an individual’s percentile
GMV in the parietotemporal cortex and the bed nucleus             position relative to the distribution of population-level trait
of the stria terminalis. Some of these effects overlapped         variation in each sex) (213). This interpretation offers one
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potential explanation for the observation that an individual   (Fig. 1). Strict causal tests for mechanistic models of
brain can show varying degrees of GMV “sex-typicality”         sex-biased brain development are very hard to achieve in
in different brain regions (relative to the population dis-    humans, although several informative approaches have
tribution). Alternative explanations have been proposed,       been pursued including: (i) modeling sMRI data using
including regional variations in programs of sex-biased        normative variation in hypothalamic-pituitary-gonadal
development such that one individual’s brain may be con-       axis maturation or function (214); (ii) applying sMRI
sidered a “mosaic” of male and female parts regardless of      methods to cohorts undergoing gender-reassignment
their chromosomal and/or gonadal sex (213).                    (215); and (iii) studying how sMRI features differ be-
    Second, although sex differences in regional GMV are       tween typically developing groups and those affected by




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highly reproducible in humans and mice, these meso-            medical disorders involving the sex chromosomes (eg, sex
anatomical sex differences cannot be assumed to cor-           chromosome aneuploidies) or sex steroids (eg, androgen
relate with behavioral sex differences. The functional         insensitivity, congenital adrenal hyperplasia) (215, 216).
relevance of neuroanatomical sex differences is hard to        However, the opportunistic and correlational nature of
establish experimentally in humans, but correlations be-       these approaches places considerable limits on the infer-
tween anatomical and behavioral sex differences could          ential power of mechanistic studies of human sex-biased
be modeled in humans using several feasible study de-          brain development. Moreover, as challenging as it is to
signs. To date, however, very few studies have directly        study chromosomal or gonadal factors in humans, it is
tested for such structure-function correlations in hu-         even harder to address empirically the many plausible
mans (161), and this is an important priority area for         hypotheses about the potential for experiential and soci-
future research. Several other challenges will need to         etal influences to differentially shape brain development
be addressed in future work for any given sex-biased           in both sexes (121) or genders.
sMRI phenotype, including which aspects of behavior
to measure and how to consider properly all possible
                                                               Section III
configurations of brain-behavior association in 2 groups
(eg, varying intercepts and/or regression slopes across        Sex Differences in Molecular Mechanisms
groups). Moreover, some sex-biased sMRI phenotypes,            Underlying Brain-Gut Disorders
such as trajectories of anatomical change, can only be         The brain and the gut communicate with each other in a
estimated from group-level data, which complicates             bidirectional way through parallel and interacting chan-
comparisons with interindividual variation in behavior.        nels, involving immune, endocrine, and neural signaling
More fundamentally, however, regional GMV sex differ-          mechanisms (217). The brain is able to modulate gut per-
ences may be useful for understanding the brain basis          meability, motility, intestinal transit, and microbial func-
for sex-biased behavior without GMV variation itself           tion via the autonomic nervous system (217), and the gut
being the behaviorally relevant marker. For example,           in turn sends signals to the brain to modulate behavior, in
sex differences in mean regional GMV may help to de-           rodents (218). This brain-gut communication is especially
fine brain circuits that subserve sex-biased behaviors         critical in mediating stress responses and in stress-based
through their molecular, cellular, or connectivity fea-        disorders. In psychiatric and other neurological diseases,
tures rather than through their volume per se. It is also      there are notable sex differences that point to different
important to entertain the possibility that sex differences    underlying neurobiological mechanisms in men vs women
in the anatomical organization of a given brain system         (219-221). Despite their clear documentation, these sex
may actually serve to equilibrate function between the         differences have largely been ignored, in order to develop
sexes despite each sex having a categorically different        broadly applicable pharmacotherapies that come at a con-
genetic starting point.                                        siderable cost, especially for women’s health (222, 223).
    Third, in addition to the functional considerations        Sex biases in psychiatric risk are particularly instructive
above, full understanding of a given sex bias in regional      as they are developmentally patterned in a manner that is
brain anatomy requires a mechanistic account that can          highly reproducible across different cultural settings and
link observed anatomical sex differences back to specific      historical epochs: early-onset neurodevelopmental and gut
genetic and/or environmental factors that differ between       disorders are more prevalent in boys than girls, while the
men and women. It is usually impossible to disentangle         opposite sex-bias is seen for adolescent-emergent mood dis-
biological sex differences from those which could be           orders (134, 224). Brain-gut disorders are more prevalent
the result of environmental influences during develop-         in women than men, but this may be due to underreporting
ment, differences in gender, and in sexual orientation         by men due to social stigma associated with several of these
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disorders. The etiologies and risk factors for several brain-   sexually dimorphic microbiome signatures are likely to con-
gut disorders differ between the sexes, yet study designs       tribute to differences in susceptibility to autoimmune and
include predominantly male sex. In this section, we dis-        metabolic diseases between the sexes. Studies performed in
cuss the possibilities that shared and distinct mechanisms      immunocompromised mouse models have shown delayed
operate in males and females resulting in similar as well       onset and lessened severity of type 1 diabetes in female
as distinct manifestation of symptoms for a given disease/      mice who receive male microbiota transplants; testosterone
disorder.                                                       activity and androgen receptor signaling was essential for
                                                                this protection (239, 240).
                                                                    These sex-specific differences in the microbial com-




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Sex-Related Differences in Obesity                              munities persist throughout adult development, with
Although prevalence rates for obesity are at unprece-           murine models demonstrating the role of testosterone in
dented levels in all ages (225) and are almost equal in         orchestrating these divergences in host selection of micro-
men and women (except when stratified by race or eth-           bial communities (240). In rodents, males exhibit lower
nicity) (226), recent surveys indicate an increase in the       microbiome variability relative to females, likely due to the
incidence of obesity in adults and sex differences in the       pulsatile nature of estrogens (240). Human studies com-
associations between weight, physical health, and psycho-       paring the microbiome of twins also revealed more diver-
social functions (227, 228). Sex differences in body fat        gences in microbial composition in opposite-sex versus
distribution have also been observed (178, 229), with           same-sex twins (241). When the cecal contents from adult
women showing an increased propensity to gain total             male mice is transferred into female mice, metabolomic
body fat, especially subcutaneous abdominal fat, whereas        profile changes and masculinization of the hormonal pro-
men tend to have more visceral adipose fat (230), which         file results, suggesting the gut microbiota’s influence on sex-
is associated with higher risks of type 2 diabetes, hyper-      specific metabolic and behavioral phenotypes (239, 242).
tension, dyslipidemia, and cardiovascular disease (231).            Circulating estrogens in the body are metabolized by the
Most clinical trials do not report sex differences related      liver and undergo methylation, hydroxylation, and conju-
to health outcomes or treatment responses, but a few            gation reactions to produce metabolites that affect host me-
existing reports suggest women are less likely to com-          tabolism (243). Certain metabolites are excreted through
plete treatment, tend to lose less weight than men, have        the bile and are further processed by microbial enzymes in
a greater number of unsuccessful attempts to maintain           the distal small and large intestine. Certain microbial species
weight loss resulting in the well-known “yoyo” diet phe-        secrete beta-glucuronidase, an enzyme that deconjugates
nomenon, and have limited responses to pharmacological          biliary estrogen metabolites and allows for its reabsorption
treatments (225). Obesity-related studies in humans and         into the bloodstream to act on distal sites through binding
rodents have expanded in scope to not only focus on             of estrogen receptors (244). Dysbiosis and decreased micro-
structural and functional brain differences between obese       bial diversity result in decreased production of absorbable
and lean male and females, but also include investiga-          estrogen metabolites. This mechanism has been implicated
tions into the bidirectional signaling associated with the      in pathologies associated with low circulating estrogens,
brain-gut microbiome axis (232, 233). In obese individ-         such as obesity, metabolic syndrome, cardiovascular dis-
uals, changes in the relative abundance and gut microbial       ease, and cognitive decline in women (245, 246); however,
diversity have been linked to changes in metabolism, in-        estrogen replacement therapy does not reverse these con-
sulin resistance, inflammation, and fat deposition (234).       ditions (247). Growth hormone similarly contributes to
The importance of the intestinal microbiome to human            sexually dimorphic responses in the above-mentioned dis-
health has been of interest over the past few decades,          eases (248). In addition, estrogens modulate inflammatory
with multiple studies now linking the microbiome to en-         pathways driving disease processes such as nonalcoholic
ergy homeostasis, immune function, and development of           fatty liver disease (NAFLD) and type 2 diabetes (249, 250).
obesity and metabolic syndrome (235-237), even though           More specifically, estrogens regulate adipokines and lipo-
few studies have addressed causality.                           polysaccharides, which respectively are adipocyte-derived
   Not only does the brain-gut axis demonstrate changes in      hormones and endotoxins that have been associated with
obese individuals, but evidence also highlights differences     type 2 diabetes (251). Adipokines play a role in metabolic
in the microbiota based on sex hormones (238). More re-         homeostasis as well as in mediating the beneficial and det-
cently, the effect of sex hormones on the composition of the    rimental effects of inflammation (252). The androgen- and
gut microbiota has been explored, with differences seen in      estrogen-dependent regulation of adipokines, including
the microbiota between men and women during various             leptin, resistin, adiponectin, and visfatin, provides a pos-
stages of human development and maturation (238). These         sible mechanistic link between metabolic disorders (obesity,
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atherosclerosis, insulin resistance) and autoimmune dys-          and presentation of psychiatric disorders vary between
function. The estrogen-microbiome axis can provide a po-          men and women, but there are differences in treatment
tential avenue for a sex-specific approach to combating           responses. For example, the efficacy of antidepressants
metabolic disorders and highlights the bidirectional inter-       differs between the sexes: men respond better to tricyclic
action of estrogens and microbial communities in the              antidepressants, whereas women respond better to selective
pathogenesis of disease processes.                                serotonin reuptake inhibitors (267, 268). These findings
    Although the exact signaling mechanisms underlying            implicate neurobiological sex differences in contributing to
the communication within the brain-gut-microbiome axis            disease. In support of this idea, recent studies using animal
remain incompletely understood, tryptophan metabolites            models are beginning to uncover molecular processes that




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have been implicated as important signaling molecules             can bias males and females toward different pathology.
(253). The most extensively studied tryptophan metabolite         Findings from some of these basic research studies will
is serotonin (5-HT), a molecule with diverse roles in both        be highlighted here as examples of how including sex as
the gastrointestinal tract (ie, peristalsis, secretion, and ab-   a biological variable can inform our understanding of the
sorption) and the central nervous system (ie, mood, pain          etiology of stress-based disorders, as well as guide the de-
modulation, behavior, sleep, and ingestive and cognitive          velopment of better treatments.
functions) (254). Tryptophan also acts as a precursor to the          While there are sex differences in rodent studies in the
kynurenine (KYN) family of molecules (255). In obesity,           structure and the size of certain brain regions that can con-
the KYN pathway is preferentially activated and may con-          tribute to sex differences in behavior (211), imaging studies
tribute to immune-mediated inflammation, which may                that focused on sex differences in cortical thickness and
drive inflammation-associated changes to the extended             gyration suggest a role for these brain regions in humans
reward network described in previous brain studies, par-          as well. In adolescent girls, cortical thinning in the right
ticularly changes involving the amygdala and lateral              temporal regions, the left temporoparietal junction and the
orbitofrontal cortex (256-259). KYN may also modulate             left orbitofrontal cortex is faster than in boys (154). In con-
signaling within the brain-gut-microbiome axis through            trast, changes in cortical folding were only found in one
downstream neuroactive metabolites, such as kynurenic             cluster of the right prefrontal region, suggesting that the
acid and quinolinic acid, functioning as N-methyl-D-              mechanisms underlying changes in cortical thickness and
aspartate (NMDA) antagonists and NMDA excitotoxins,               gyrification in adolescents are distinct. Sexual dimorphism
respectively (260). Sex differences have been reported in         in the developmental course of the cortical maturation,
these metabolite products in obese individuals, with lower        which coincides with the onset of puberty, might explain
tryptophan levels but elevated KYN and KYN/tryptophan             sex differences in the age of onset and clinical presenta-
ratios in women with high BMI compared to men with                tion of many psychiatric disorders (154). Recent evidence
high BMI (256, 261, 262).                                         has revealed that molecular sex differences in the brain are
                                                                  more widespread than initially thought and such seemingly
                                                                  small-scale differences can have a large impact on physi-
Sex Differences in Stress-Based (Patho)                           ology and behavior (269). Neurons typically communicate
Physiologies                                                      with each other via neurotransmitters and neuropeptides,
Epidemiological data reveal that the majority of psychiatric      which are released from a presynaptic neuron and travel
disorders occur at different rates in men and women. For ex-      across a synapse to bind to receptors on the postsynaptic
ample, men are more likely to suffer from attention-deficit/      neuron to exert downstream cellular effects. There are sex
hyperactivity disorder (ADHD), whereas women are more             differences in production and release of many neurotrans-
likely to suffer from major depression and posttraumatic          mitters and neuropeptides that can result in behavioral
stress disorder (PTSD) (219, 263-265). Even when the              changes. In other instances, sex differences in these systems
rates of disorders are similar, their presentations can differ.   are compensatory, leading to similar behavior endpoints
Schizophrenia, for example, is only slightly more common          via different mechanisms. For example, both male and
in men than women, but men develop schizophrenia at               female juvenile rats play, but the release of the inhibitory
an earlier age and present with more negative symptoms,           neurotransmitter gamma-aminobutyric acid (GABA) into
such as social withdrawal and lack of motivation. (224). In       the lateral septum mediates juvenile play only in female
the case of bipolar disorder, rates are similar between the       rats (270). There are also sex differences in receptors that
sexes, but women more often have more rapid cycling and           can influence how these neurochemicals affect their down-
mixed episodes and they report higher comorbidity with            stream targets. For instance, dopamine 1 (D1) receptors,
eating disorders and PTSD, whereas men report higher              which belong to the family of G protein-coupled receptors
comorbidity with alcoholism (266). Not only does the risk         (GPCRs), in the nucleus accumbens, are necessary for social
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withdrawal in female but not male California mice (271).               During stress, CRF is also released centrally into many
The function of GPCRs is often complex and they can in-            brain regions, where its neuromodulatory effects coord-
duce different downstream effects depending on their con-          inate cognitive and behavioral changes to promote stress
formation and location. Sex differences can occur at each          coping (280). There are sex differences in the way these
level of receptor function, in some cases altering physiology      brain regions respond to CRF that are largely due to sex
differently in male vs female rodents. Sex differences in          differences in CRF receptor signaling (274). For example,
GPCR signaling are particularly important to consider, es-         there is greater CRF1 receptor binding in the basolateral
pecially given that GPCRs are the most studied drug target         amygdala in female rats (281). In contrast, binding of the
family for a myriad of indications; in fact, 34% of all US         CRF2 receptor subtype, which is involved in stress recovery,




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Food and Drug Administration (FDA)-approved drugs are              is greater in the central nucleus of the amygdala in male rats
targets of GPCRs (272). As an example of the myriad of sex         (281). It is unknown precisely how these sex differences af-
differences that can be mediated by receptors, we will use         fect behavior, but given that the amygdala is critically in-
the corticotropin-releasing factor 1 and 2 (CRF1 and CRF2,         volved in fear, it is likely that these receptor sex differences
respectively) receptors that facilitate responses to stress, ex-   differently alter fear processing in males and females. In
hibit sexually dimorphic expression pattern, are modulated         the brain, CRF2 is most abundant in the bed nucleus of the
by both estrogens and androgens, and have been relatively          stria terminalis, a region that regulates sexual behavior and
well characterized in both sexes (273, 274).                       stress-related functions (282, 283). Promoters in genes for
   Upon perception of stress or perturbation of homeo-             CRF1 and CRF2 receptors harbor estrogen and androgen
stasis, CRF is synthesized in the paraventricular nucleus          responsive elements and show tissue-specific modulation
and released from the median eminence of the hypothal-             by sex hormones (284, 285). The sexually dimorphic ex-
amus into the pituitary portal circulation, which in turn          pression pattern of these receptors at normal physiological
stimulates the synthesis and secretion of adrenocortico-           states and during stress or disease pathology are summar-
trophic hormone (ACTH) from the anterior pituitary                 ized in a recent review (274).
into the general circulation. ACTH acts on the adrenal                 Sex differences in CRF1 receptor signaling have been
cortex to stimulate the synthesis and release of gluco-            identified in the noradrenergic-containing nucleus of the
corticoids and other steroids. This activation of the              locus coeruleus (LC) and these differences have important
HPA axis in the classic “flight or fight” response by the          implications for understanding disease vulnerability
CRF system is present in all mammals. The mammalian                (273). The LC-noradrenergic system regulates levels of
CRF family comprises 4 agonists, CRF and 3 urocortins              arousal such that higher levels of norepinephrin are as-
(UCN1-3); and 2 known class B GPCRs, CRF1 and CRF2.                sociated with greater levels of arousal (286-289). Stressor
While CRF1 and CRF2 share ~68% identity at the amino               exposure causes CRF to be released into the LC, which
acid level (275), they perform distinct functions; CRF             speeds up LC neuronal firing, increasing norepinephrin re-
binding to CRF1 initiates stress responses by activating           lease (290, 291). Activation of this system during an acute
the HPA axis, whereas UCN1-3 binding to CRF2 brings                or moderate stressor is thought to be adaptive, because it
systems back to homeostasis (274). Not surprisingly,               is important to be alert during a stressful event. However,
perturbations in the components of the CRF family im-              if this system is activated inappropriately or persistently
pact several organs and lead to brain-gut disorders, type          it can lead to hyperarousal that contributes to agitation,
2 diabetes, metabolic syndrome, cardiovascular, and re-            restlessness, impaired concentration, and sleep disturb-
productive diseases, among others (274). There are sex             ance. Hyperarousal is a key feature of PTSD and reported
differences in CRF’s endocrine effects. In female rats,            in a subset of depressed patients (292, 293). Similar sex
higher levels of CRF mRNA in the paraventricular nu-               differences in spatiotemporal expression of CRF2 and its
cleus are reported that associate with the estrous cycle           ligands are found in humans with gut disorders, where
(276, 277) and are reviewed elsewhere (274). Perhaps as            they could contribute to differences between males and
a compensatory response, CRF binding protein, an en-               females in vulnerability to brain-gut disorders (127, 294).
dogenous protein that sequesters CRF thus preventing                   There are sex differences in CRF1 receptor signaling in
its bioavailability, is expressed at higher levels in the          the LC that increase female sensitivity to CRF. In the LC,
pituitary of female compared with male mice (278). In              CRF receptors primarily couple to Gs to initiate signaling
humans, there is evidence for increased CRF receptor               through the cyclic adenosine monophosphate (cAMP)-
sensitivity at the level of the pituitary of women relative        protein kinase A (PKA) signaling pathway (295-297). Sex
to men, because peripherally administered CRF, which               differences in CRF1-induced cAMP-PKA signaling are
acts at the pituitary, increases ACTH to a greater degree          linked to greater coupling of the CRF1 receptor to Gs in
in women (279).                                                    females compared to males (298). This sex difference in
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coupling of Gs may indicate that the CRF1 receptor has           than men and that these responses correlate positively
a different conformation or binding partner in females           with progesterone levels, but negatively with cortisol levels
vs. males, permitting different proteins to preferentially       (306). Thus, analyzing data from both sexes provides in-
bind in each sex. Further support for this idea comes from       sights into sex-specific mechanisms that regulate physio-
studies demonstrating that, in male rats, acute swim stress      logical processes in both sexes.
increases the binding of a different protein, β-arrestin2, to        In colonic tissues of pediatric patients with Crohn’s
the CRF1 receptor, and this effect is not observed in female     disease, subcellular localization of CRF2 differs between
rats (298). The increased β-arrestin2 in male rats likely        boys and girls (127). Furthermore, lack of CRF2 revealed
contributes to the greater CRF1 receptor internalization in      several sex-specific signaling pathways and differential de-




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stressed males (298). When taken together, these findings        gree of inflammatory responses in male and female mice
suggest that CRF1 receptors preferentially signal through        (127). Treatment with UCN1, a high-affinity agonist for
different pathways in males (small GTPases) and females          both CRF receptors, rescued Crhr2-/- male mice from
(cAMP-PKA) (299). This difference in signaling could             colitis-induced mortality, whereas UCN1 treatment in-
alter physiology and disease risk. In fact, sex differences in   creased mortality in Crhr2-/- female mice (127). Both dia-
CRF1 receptor signaling in cortex were linked to increased       betes and Crohn’s disease show sex differences in disease
Alzheimer-related pathology, including increased tau phos-       prevalence and outcomes, yet most animal studies use
phorylation and amyloid β signaling in female compared           male sex to delineate mechanisms. Analysis of the data by
with male mice (300). Few studies investigate sex differ-        segregating the 2 sexes can reveal significant insights into
ences in GPCR signaling, but it is likely that sex differences   distinct and shared mechanisms and factors that exist at
in GPCRs are also found in receptors other than CRF and          baseline and during disease. For example, sex differences
that these differences could confer vulnerability and resili-    exist in the etiology of pancreatitis: alcohol and tobacco
ence to many diseases.                                           predominate in men, whereas idiopathic and obstructive
   In human studies, single nucleotide polymorphisms             etiologies predominate in women (307), yet to date only
in the CRF receptor gene (CRHR2) are associated with             a few studies have used both sexes to study mechanisms
negative emotions in patients with irritable bowel syn-          involved in pancreatitis. While both males and females
drome (IBS) (301). Immune cells secrete CRF2 in extra-           develop pancreatitis in animal models, when adminis-
cellular vesicles that circulate in the plasma and associate     tered identical doses of the pancreatic stressor caerulein,
negatively with disease severity scores in IBS-diarrhea pa-      C57BL6 female mice show less severe pancreatitis and
tients (294). Single nucleotide polymorphisms in CRHR2           histological damage than male mice (128). Lack of CRF2
are also associated with lifetime PTSD in women (302)            rendered female mice more susceptible to caerulein-
and with type 2 diabetes (303). The prevalence of type           induced pancreatitis compared with male Crhr2-/- mice
2 diabetes and insulin resistance is greater in men (304).       (128), with both male and female Crhr2-/- mice exhibiting
Epidemiological studies have shown that men with high            similar levels of total histological damage (128). Detailed
levels of self-reported perceived stress have a 1.4 higher       analysis of components contributing to histopathological
odds ratio of developing type 2 diabetes during a 10-year        damage showed that female C57BL6J mice have less ne-
follow-up period and are at 2-fold higher risk of developing     crosis, zymogen granules, and vacuolization than male
diabetes than women with similar levels of reported stress       mice with pancreatitis, but they have similar levels of
(305). In agreement with human data, male mice lacking           edema and neutrophil infiltration as male mice (128). This
functional stress receptors (Crhr2-/-) and haploinsufficient     data segregation allowed isolation of factors that differen-
(Crhr2+/) mice have worse glucose and insulin tolerance,         tially contribute to histological damage, which otherwise
microvesicular hepatic steatosis, and dyslipidemia than          would be lost, if grouped together in this analysis. Taken
female Crhr2-/- or C57BL/6 male and female mice in a             together, these data support a role for the CRF receptors,
high-fat diet–induced model of diabetes (129). Female            product of an autosomal gene and regulated by steroid
Crhr2-/- mice had significantly greater brown adipose fat        hormones to bring about sex-specific cellular signaling
mass on high-fat diet than C57BL/6 female or male mice of        and function.
either genotype, suggesting greater thermogenic responses
that might be protective. However, the mouse study did not
address whether steroid hormones contributed to changes          Sex Differences in Pharmacotherapy of Stress-
in adipose mass or function. Thermogenesis in brown adi-         Based Diseases
pose tissue in humans in response to a meal or cold stress       Sex differences in GPCR signaling are also relevant for
suggests that women have greater thermogenic responses           pharmacology. Biased ligands can shift signaling toward
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β-arrestin pathways and away from G-protein-mediated           drugs are designed using males also likely contributes to
pathways based on how they bind to the GPCR (308).             the higher rates of adverse drug reactions in women com-
These biased ligands are being designed with the hope of       pared to men (322).
providing more targeted therapies with fewer side effects         Including both sexes in mechanistic studies is critical for
(308, 309). Understanding sex differences in signaling         developing drugs that work efficaciously in both sexes (see
and how such differences contribute to changes in physi-       Box 4). Latent sex differences can also impact drug devel-
ology can inform the development of these biased ligands.      opment: a compound targeting a mechanism in men may
For example, a CRF1 receptor ligand that biases signaling      not work in women. As the field moves forward, we may
through β-arrestin pathways may be useful for treating         find that sex-specific therapeutics based on understanding




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hyperarousal symptoms or reducing the progression of           latent sex differences are required to truly improve patient
Alzheimer disease, especially in women. An idea for such       outcomes. In sum, there are observable sex differences
a compound would never have come about if women were           in behavior that extend beyond reproductive function.
excluded from preclinical and clinical studies on CRF1 re-     Molecular sex differences in several organs, such as the gut
ceptor function.                                               and the central nervous system, play a key role in driving
    The idea of using CRF1 antagonists to treat depres-        these functional and behavioral differences. Moreover, even
sion, PTSD, and irritable bowel syndrome has been              when function and behavior are consistent between the
around for decades, but these compounds were inef-             sexes, the underlying processes can differ. Thus, including
fective in several clinical trials (222, 310). Sex differ-     both sexes in preclinical molecular studies guiding drug
ences in CRF1 and CRF2 receptor signaling may also             development is key for improving the health of men and
explain the failure of different selective CRF1 antagonists    women.
as treatments for these disorders. While there are likely
many reasons for their failure, critical ones could be sex
                                                               Section IV
differences in their target, association of CRF receptors
with different binding partners in female versus male          Sex Differences in the
cells, or heteromerization of CRF receptors (311-313),         Cardiovascular-Renal System
all of which can result in altered signaling. The consistent   Cardiovascular disease (CVD) is the major cause of pre-
efficacy of CRF1 antagonists in reducing anxiety-like and      mature death in both sexes worldwide, although women
depressive-like behavior in rodents and nonhuman pri-          generally develop CVD 10 years later than men (328). In
mates was established in studies primarily conducted in        2016, ~18 million people died from CVD, representing
male animals (222, 314-317). In a study in which females       ~30% of all deaths worldwide (329). There are marked
were included, local blockade of CRF1 receptors in the         sex differences in CVD and renal disease. For example,
dorsal raphe with an antagonist reduced anxiety in male        women are protected from heart disease during the re-
but not female mice, highlighting sex differences in ef-       productive years but are more likely to die in the first
ficacy (318). Yet these compounds developed primarily          year following a cardiovascular event than males (330).
in male rodents were tested in clinical trials with par-       Most heart conditions, including myocardial infarction,
ticipants of both sexes or only in women. Notably the          Takotsubo syndrome, and cardiac arrythmia, exhibit
only CRF1 antagonist study that had success in reducing        sex differences in symptoms and severity (331). Chronic
depressive symptoms, NBI-34041, was conducted only in          kidney disease (CKD) is more prevalent in women but,
men (222, 319). The approach of developing compounds           once established, progresses more rapidly in men (332).
in male animal models is not unique to CRF1 antagonists        However, this female advantage is lost after menopause.
and has been common practice (222). Collectively, these        These sex differences in cardiovascular and renal disease
studies suggest that a failure of certain therapeutics may     have long been overlooked and underappreciated. The
result from ignoring sex differences in their targets. Sex     clinical presentation, the response to pharmacotherapies,
differences in targets are not well known because most         standard care practices, and the underlying pathophysio-
preclinical studies use only male rodents (320, 321).          logical mechanisms differ in women compared to men.
Excluding females in the drug development stage par-           Furthermore, lack of understanding of sex differences in
ticularly impacts women’s health. Indeed, it is likely that    mechanisms underpinning cardiovascular and renal dis-
some compounds deemed ineffective in male rodents              ease has led to poorer outcomes in women than in men.
would work in females, yet such compounds never would          A major problem is that mechanistic preclinical studies in
have a chance to make it to market, because of testing         animal models have largely been conducted in males (333).
exclusively in male subjects. Moreover, the fact that most     Yet, it has become increasingly clear that sex differences
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   Box 4. Sex differences in pharmacokinetics and pharmacodynamics of drugs
   Thalidomide, a sedative that was prescribed to many pregnant women to relieve pregnancy-associated nausea, was first
   sold in Germany (without a prescription) in 1957; it had been tested in animals and in men, but not in women. It was
   soon noted to cause multiple birth defects, most notably phocomelia (arrested limb development) and postnatal deaths.
   Fortunately, it was never approved in the United States, but thousands of children were affected around the world. In
   1962, the US Congress passed the Kefauver-Harris Drug Amendments Act requiring manufacturers to prove a drug is both
   safe and effective (323). Consequently, the US Food and Drug Administration (FDA) recommended against drug testing
   on women, particularly those of child-bearing age, until the early 1990s. To date, most treatment guidelines are based on
   results from clinical trials conducted on middle-aged men. Dosage, pharmacokinetics, and pharmacodynamics data for




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   women (and children) are lacking for most drugs. Activities of cytochrome P450 (CYP) enzymes show significant sex differ-
   ences in drug metabolism in Phase I clinical trials (324). Gastric enzymes involved in oxidative degradation such as alcohol
   and aldehyde dehydrogenases are significantly more active in men than in women resulting in higher bioavailability of
   ethanol in women versus men. In Phase II trials, glucuronidating enzymes and some efflux transporters have been shown
   to be more active in men then in women. Together with estrogens and androgen that alter transmembrane transporters,
   these processes contribute to efficacy of metabolism in both Phase I and II. Drugs used for treatment of cardiovascular dis-
   ease, such as angiotensin-converting enzyme inhibitors (ACE inhibitors), angiotensin II receptor blockers, diuretics, the al-
   dosterone blocker eplerenone, antiplatelet agents, and oral antithrombotic medications, all show sex differences in efficacy
   and safety (325, 326). Over-the-counter nonsteroidal anti-inflammatory drugs (NSAIDs) such as ibuprofen and naproxen
   are more effective in men than women; there is more liver toxicity with acetaminophen use in women, whereas opioids
   and benzodiazepine work better in women. While some sex differences in metabolic clearance for statins and beta-blockers
   are known for these frequently prescribed drugs, dosing and adverse event monitoring in routine clinical practice is inad-
   equate. Alosetron, a serotonin receptor 3 antagonist, is approved for treatment of severe irritable bowel syndrome–diarrhea
   symptoms in women, as it is largely ineffective in men (327). These findings emphasize that women and men take divergent
   routes (molecular mechanisms and signaling pathways) to reach the same destination (normal function or diseased state),
   with paths often intersecting. In the era of personalized medicine, there is no one-size-fits-all therapy, and considering
   sex-specific outcomes in pharmacokinetics and pharmacodynamics of drugs as well as clinical guidelines is warranted to
   ensure efficacy and safety of medications.



are apparent in all endocrine systems, which are modified
by sex chromosomes and sex hormones, with temporal ac-
tions across the lifespan.


Blood Pressure Links Cardiovascular and Renal
Diseases
Cardiovascular and renal diseases are linked by the re-
lationship of each to arterial pressure (Fig. 5). The car-
diovascular system determines arterial pressure, with
the heart generating cardiac output and the blood ves-
                                                                   Figure 5. Heart and kidney functions are linked. Sex differences exist
sels determining total peripheral resistance. The kidneys          in many aspects of heart and kidney function at baseline and in CVD
contribute by regulating extracellular and intravascular           and CKD, as shown. Both organs feed-forward and influence each
fluid volume, and hence blood volume, and venous re-               other’s function. Genes, hormones, and age are some known factors
                                                                   that modulate this relationship in a sex-specific manner. Abbreviations:
turn. It is established that CVD leads to chronic kidney           CKD, chronic kidney disease; CVD, cardiovascular disease.
disease (CKD) and that CKD leads to the development of
CVD. For example, following a myocardial infarct, car-
diac output declines and arterial pressure falls causing the       (RAAS), the endothelin system, atrial natriuretic peptides,
kidney to vasoconstrict and retain extracellular fluid, with       vasopressin, and glucocorticoid and mineralocorticoid
the effect to increase venous return and normalize car-            hormones. There is an increasing recognition that there
diac output. However, this has the unwanted effect of pla-         are fundamental sex differences in each of these systems.
cing further stress on the failing heart. Conversely, kidney       For example, aldosterone contributes to obesity-induced
failure causes fluid retention and hypertension (334).             CVD with a greater impact in females than males (335).
Thus, cardiovascular and kidney function are intertwined,          However, further research is required to fully elucidate the
as are the endocrine systems that regulate organ func-             sex differences present in each endocrine system and how
tion; including the renin-angiotensin-aldosterone system           these impact disease development and progression.
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Sex Differences in Arterial Pressure and                          greater reduction in renal blood flow in men than women,
Hypertension                                                      with the suggestion that this was an angiotensin type 2 re-
Hypertension is a major risk factor for cardiovascular and        ceptor (AT2R) mediated effect (347). In rodents, females of
renal disease. Over the lifespan there are age- and sex-related   reproductive age have a greater AT2R to angiotensin type
differences in arterial pressure. The majority of the data are    1 receptor (AT1R) ratio than males, which contributes to
derived from cross-sectional studies, but a few powerful          the reduced pressor response to angiotensin II (348). This
studies have tracked arterial pressure over decades within        has been indirectly demonstrated in women, in studies
a population (332, 336-339). Arterial pressure increases          examining forearm vascular resistance responses to AT2R
                                                                  blockade (349). The AT2R also mediates a leftward shift




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in both men and women with age, although the slope of
the relationship is different between men and women. Sex          in the pressure natriuresis-diuresis relationship, an effect
differences in arterial pressure emerge during adolescence        that is greater in female than male mice (350). In women,
and are maintained throughout adulthood until women               indirect evidence also indicates a more pronounced role for
reach menopause (336, 337, 339). Arterial pressure is ~5 to       the AT2R in the regulation of renal blood flow responses to
10 mmHg greater in men than age-matched women during              angiotensin II (347). This is linked to differential expres-
the reproductive years (340-342). Postmenopause arterial          sion of components of the RAAS in males and females,
pressure rises steeply in women regardless of race, ethnicity,    which have been demonstrated in most mammalian spe-
or country of origin (340-342). One of the most striking          cies, including humans (351). In the context of the above
characteristics of hypertension is that the prevalence and        example, estrogen interacts with the glucocorticoid re-
severity is lower in premenopausal women than in age-             sponse element on the X-linked AGTR2 gene, to increase
matched men. The prevalence of hypertension is ~10% in            AT2R expression in females (352). In addition, there are sex
young premenopausal women, ~50% in postmenopausal                 differences in human aminopeptidase A, aminopeptidase
women and by the age of 75 years almost ~80% of women             N, and angiotensin-converting enzyme 2 levels, responsible
are hypertensive (342-344).                                       for generation of the angiotensin peptide fragments, angio-
    Nonhuman mammalian species also display sex differ-           tensin III, and angiotensin-(1–7), which have a high affinity
ences in arterial pressure. Arterial pressure in adult females    for the vasodilatory AT2R and Mas receptors, respectively
is lower in normotensive dogs, sheep, rabbits, rats, and mice     (353-356). Lastly, there are marked and important sex dif-
as compared with adult males (338, 345). Furthermore, in          ferences in the production and function of aldosterone, al-
rodents, rabbits, and sheep, females of reproductive age are      though this has only recently been started to be examined
protected against the development of hypertension, such           (335). Thus, in females the RAAS is balanced toward the
that arterial pressure increases significantly less in females    protective depressor RAAS arm, which at the lower physio-
than in males, in settings of disease (338). Thus, sex dif-       logical range may prevent arterial pressure increasing to
ferences are present in the pathophysiology of cardiovas-         the same extent as in males. However, this delicate balance
cular and renal diseases. Yet, the mechanisms underlying          may be lost in women after menopause and in the situation
the sexual dimorphism of arterial pressure in men and             of metabolic syndrome.
women as they age are poorly understood. However, exten-              Other vasoconstrictor systems also have sexually di-
sive evidence indicates that sex hormones likely contribute       morphic actions. Endothelin-1 causes vasoconstriction via
to the regulation of arterial pressure through their actions      the endothelin type A receptor (ETAR), and vasodilation
on endocrine systems.                                             and sodium excretion via the ETBR. Testosterone increases
                                                                  ETAR and estrogen increases ETBR expression, which con-
                                                                  tributes to the differential control of arterial blood pressure
                                                                  and renal function between the sexes (357). Vasopressin,
Sex Differences in Endocrine Control of Arterial
                                                                  with important roles in circulatory and water homeostasis,
Pressure and Kidney Function
                                                                  is affected by age and sex. Urinary concentrating ability
There are subtle differences in most endocrine actions be-        declines with age, but more steeply in women. Young men
tween men and women. It is not the maximal response of            produce more concentrated urine than women, in part due
each system but rather the slope of the response that is          higher plasma arginine vasopressin levels and greater vaso-
altered. In this manner, a system responds maximally in a         pressin type 2 receptor expression in the collecting ducts of
hemodynamic crisis (eg, hemorrhage) but in a sex-specific         the kidney in males (358, 359). Renal vasopressin type 2 re-
manner to lesser challenges. For example, a greater dose of       ceptor expression declines with age in association with a re-
the vasoconstrictor angiotensin II is required to increase ar-    duction in maximal urine concentrating ability (358, 359).
terial pressure in female than male mice (346). Consistent        Interestingly, aldosterone signaling via mineralocorticoid
with this finding, the same dose of angiotensin II caused a       receptors is associated with increased CVD risk and is
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enhanced in obese women (another example of how the              roles in the regulation of renal function, blood pressure,
RAAS is differentially modulated in females), which has          and tissue fibrosis (363). Thus, it is a mistake to assign hor-
been linked to leptin-induced endothelial dysfunction            monal systems a specific role as most have wide-ranging
(360, 361). Moreover, evidence in rodents indicates that so-     tissue-specific pleiotropic effects.
dium reabsorption along the length of the renal tubule is
sexually dimorphic, with reabsorption shifted to the later
segments in females compared to males. This was associ-          Sex Hormones and Sex Chromosome
ated with greater sodium epithelial channel expression,          Complement in CVD
under the control of aldosterone, in the collecting duct,        Sex hormones contribute to sexual dimorphism in endo-




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which could also contribute to the increased cardiovas-          crine control of the cardiovascular system, with evidence
cular and renal risk associated with aldosterone in females      suggesting that there is a “sweet spot” for both testos-
(362). Finally, oxytocin, relaxin, and prolactin, which are      terone and estradiol, as unusually high or low levels of
traditionally known for their roles in pregnancy, have dif-      either promote disease (368-370). This has been the cause
ferential cardiovascular and renal actions in nonpregnant        of apparent discrepancies in the literature. In particular,
female and male rodents (348, 363, 364). Thus, evidence          this remains a problem in animal studies in which the dose
points to sex differences in endocrine control of extracel-      of estrogen used to study the impact of estrogen replace-
lular fluid homeostasis and vascular function, which likely      ment in aged or gonadectomized models varies widely
contribute to age- and sex-related disparities in renal and      (~1000-fold), as does the route or length of administra-
cardiovascular disease risk. Further studies are warranted       tion; none of which accurately reflect the cyclic pattern
to understand this complex issue more fully. In particular,      of in vivo production. This lack of rigor into investiga-
it is important to take into account the subtle effects within   tion of the effects of sex hormones in preclinical models
the physiological range that counterbalance function of          likely contributes to the controversy that surrounds hor-
each hormonal system, rather than examine the impact of          mone replacement therapy for the prevention of CVD
pharmacological doses which can mask sex differences in          risk. Despite extensive evidence that hormone replace-
responses.                                                       ment therapy is cardioprotective, the negative results of
                                                                 the Women’s Health Initiative Trial effectively halted the
                                                                 use of hormone replacement therapy (371). Certainly,
Cardioprotective Mechanisms in Women Sustain                     high-dose estrogen can increase blood pressure and car-
a Healthy Pregnancy                                              diovascular risk in women (372). However, continued
The cardioprotective mechanisms that predominate in              investigation supports the use of hormone replacement
women during the reproductive years enable the extensive         therapy in subsets of women, and further work in this
hemodynamic adaptations required to meet the metabolic           area is required (373). In contrast, in men with low tes-
demands of the developing fetus and a successful preg-           tosterone, beneficial cardiovascular effects are seen with
nancy. During a normotensive pregnancy, blood volume             testosterone replacement (374). In women with polycystic
increases and cardiac output increase by ~30% to 50%,            ovary syndrome, high testosterone levels are associated
but arterial pressure declines due to marked peripheral          with elevated blood pressure (374). Dose-ranging studies
vasodilatation (365, 366). The associated renal vasodila-        are required to delineate these effects.
tion accommodates an increase in glomerular filtration rate         The sex chromosomes may have a direct impact on
to process the additional blood volume, but an increase in       sex differences in the physiology and pathophysiology
vasopressin type 2 receptor expression enables increased         of the cardiovascular system and cardiovascular risk, in-
tubule reabsorption of sodium and water. However, in             dependent of sex hormones. Human sex chromosome
women with preeclampsia, a pregnancy-induced form                aneuploidies, such as Turner and Klinefelter syndromes,
of hypertension, these cardiovascular adaptations are            suggest that sex chromosome abnormalities can carry an
perturbed. Accumulating evidence now indicates that              increased risk of CVD. Women with Turner syndrome have
women with a history of pregnancy-associated hyperten-           around a 3-fold greater mortality and reduced life expect-
sion have a 2- to 5-fold increased risk of CVD in later life     ancy relative to the general population (375-377). CVD is
(367). Understanding the mechanisms underpinning this            a leading cause of increased mortality in Turner syndrome
dysregulation of vascular function in pregnancy-related          (375-377). Congenital cardiac anomalies, hypertension, co-
hypertension may lead to the identification of new thera-        arctation of the aorta, diabetes, ischemic heart disease, and
peutic targets for the treatment of cardiovascular disease in    stroke are commonly associated with this condition (378).
both sexes. For example, relaxin, which is known best for        Similarly, men with Klinefelter syndrome have a high car-
its role in pregnancy but is also produced in males, plays       diovascular risk profile (379, 380), and an increased risk of
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mortality from cardiovascular disease (381, 382). However,        disease. Further research is required to fully understand
observations from studies in individuals with sex chromo-         these differences, and in turn to guide the development of
some aneuploidies are complicated by confounding factors,         sex-specific treatment guidelines for CVD and CKD.
including abnormal gonadal sex hormone levels associated
with gonadal failure. Thus, it is very difficult to distinguish
between hormonal versus genetic mechanisms and cardio-
vascular risk in these human conditions.                          Section V
    Experimental approaches, such as the FCG mouse model          Challenges for the Future of Sex Differences
discussed in “Section I,” and Box 3 can discriminate be-          Research—Areas Requiring Special Attention




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tween hormonal and sex chromosome effects in cardiovas-           Sex differences exist in anatomy, behavior, and physiology
cular disease (115). Beyond genes on the sex chromosomes,         across the animal taxa. By extension, because of these in-
there are sex differences in autosomal gene expression,           nate differences, sex differences exist at molecular and cel-
which can be both organ or cell specific (383). In the kidney     lular levels in mechanisms that underlie these processes.
and the heart, hundreds of rat and human genes are regu-          Despite concerted efforts by the Office of Research on
lated differently between the sexes (384-386). This dis-          Women’s Health and the Organization for the Study of Sex
parate expression is triggered by sex hormones in ~30%            Differences in educating researchers about the distinction
of cases, with the other 70% linked to sex chromosome             between sex versus gender, the indiscriminate use of the
and microRNA dimorphisms (384, 385). For example, sex             word “gender” continues to pervade scientific literature.
differences have been reported in the expression of nitric        The sex of established cultured cell lines is another issue;
oxide synthase, tyrosine hydroxylase, and sodium channels         in addition to aneuploidy, chromosomal numbers change
in the rodent heart and kidney (332). However, few studies        as cells are passaged and are dependent upon the tissue of
to date have compared gene expression and the effect on           origin (397, 398), but this aspect is beyond the scope of
the proteome between the human sexes, and further studies         this Statement. Not surprisingly, sex differences are seen in
are required.                                                     etiology, prevalence, and outcomes in a myriad of human
                                                                  diseases that range from psychological and autoimmune
                                                                  to gastrointestinal, cardiovascular, renal, and reproductive;
Sex Differences in Pharmacotherapy for                            SARS-CoV-2 causes more severe COVID-19 disease in men
Cardiovascular and Renal Disease                                  than in women despite similar infection rates (399-401).
Men and women respond to disease differently: kidney              Besides genetic makeup (predisposition), extraneous fac-
diseases progress faster in men than women, kidney trans-         tors, such as the socioeconomics, demographics, education
plants from women to men tend to fail more frequently             level, profession, age, and the environment, greatly influ-
than the reverse, and the effects of diabetes on the kidney       ence an individual’s health; COVID-19 disease outcomes
differ between the sexes (387-392). Furthermore, symp-            especially highlight the contribution of these extraneous
toms and mechanisms of heart failure differ between the           factors in health disparities. Factors such as the endocrine-
sexes (393). This suggests that sex-specific treatments for       disruptive chemicals can disproportionately affect one
CKD and CVD could be required. There is currently little          sex over the other; regardless, whether favorable or ad-
evidence to suggest that men and women respond differ-            verse effects are present in one or both sexes, the effects
ently to current treatments for hypertension (394). In            would impact trans and cisgender persons, and hence these
large part, this is because clinical trials have lacked statis-   sex-specific effects should not be overlooked or underesti-
tical power to take this into account. It will be difficult to    mated (402). Some human studies addressing sex differ-
achieve such an outcome for drugs that have already re-           ences take these factors into account, whereas others are
ceived FDA approval. However, some treatments are more            more selective. Many studies of disease pathways are sen-
frequently prescribed, without any basis in evidence (395).       sitive to levels of gonadal steroid hormones, which con-
There are also marked differences in pharmacokinetics and         tribute to sex differences. In human studies, unless gender
pharmacodynamics (see Box 4), leading to more frequent            information is explicitly collected or available, the study
adverse drug reactions in women, related to differences in        deals with biological sex, not gender. Use of sex and gender
drug clearance and breakdown (396). Therefore, sex should         interchangeably deemphasizes the importance of studying
be taken in account for new treatments seeking approval           gender as an independent variable.
in the future. When women are considered, important and               In animals or experimental models of human diseases,
unexpected sex differences are observed in almost every           effects of estrogens have been investigated more often
aspect of cardiovascular and renal function in health and         than effects of progestins and androgens, which should
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be corrected. Paradoxically, female sex is often excluded        both types of factors cause differences in disease incidence,
from experimental design on the basis that: (i) the estrus       are they affecting the same or different downstream path-
cycle will interfere with data interpretation; (ii) mechan-      ways? Do their effects converge, or do they independently
isms that operate in the male sex will operate in the fe-        affect different mechanisms that each influence a complex
male sex and thus only need to be confirmed in females;          disease? Do male-biased factors (hormones, Y-chromosome
(iii) metabolic demands are similar between the sexes;           genes) act synergistically to induce a male-specific state, or
(iv) the X chromosome in males and females is subject to         do they counteract each other to reduce the difference be-
similar regulation; and (v) autosomal genes will be sub-         tween males and females (123, 405)? Are the diverse sex-
ject to equal variance between the sexes. The same studies       biasing factors changing in their effects across the lifespan,




                                                                                                                                              Downloaded from https://academic.oup.com/edrv/advance-article/doi/10.1210/endrev/bnaa034/6159361 by guest on 12 March 2021
often ignore the diurnal cycling nature of testosterone in       leading to changes in the type or amount of sex difference
males; testosterone levels in male rodents can show more         at different ages?
day-to-day variability than estrogen and progesterone                When studying sex differences in animal models of human
levels in females. Other steroid hormones, such as gluco-        diseases, it is important to first understand and elucidate dif-
corticoids, that show circadian rhythm and whose levels          ferences at baseline in gonadally intact animals. As pointed out
differ between the sexes also influence gene expression and      earlier, steroidogenic enzymes are also present in nongonadal
function. In rodents but not primates, sex differences in        tissues, especially the brain, thus it is not entirely possible to
secretion of growth hormone result in sexually dimorphic         eliminate effects of sex steroids from all tissues. Moreover,
hepatic metabolism of drugs and xenobiotics (403). In ro-        tamoxifen-inducible Cre recombinase used to routinely per-
dents, endocrine disruption can have transgenerational           form lineage tracing and gene inactivation studies in mice
effects on male and female reproductive systems (404).           has its own problems (406, 407) that are largely ignored and
Since changes in hormone levels and gene expression are          can further confound sex-specific data analysis; tamoxifen
dynamic, can be localized, and are spatiotemporally dis-         antagonizes actions of estrogen receptor-β and inhibits ex-
tinct, no one study design or condition can be used as a         pression of over 70 genes (408), but the contribution of these
gold standard. Animal housing and handling conditions            tamoxifen-regulated genes on study results and outcomes is
can also create sex differences, and thus any experimental       never accounted for and requires careful consideration. Before
design and data interpretation should take these variables       mechanisms behind sex differences in physiology and disease
into account. If sex-segregated data does not differ for the     can be elucidated, a fundamental understanding of sex differ-
aspects under study, then data can be pooled from the 2          ences that exist at baseline, is needed.
sexes and reported accordingly.
    Studies in animal models have just begun to uncover
unequal effects of the sex chromosomes in XX vs XY               Acknowledgments
cells, so we expect further discoveries about such effects         The authors thank Stephen M. Rosenthal and Robert M. Carey
in the future. Once genes that cause sex differences are         for critically reading the manuscript.
discovered in animals, the findings generate new hypoth-
eses and rationalize human studies to determine whether
                                                                 Additional Information
the same gene also creates sex differences in humans.
That question can be studied by the methods of human               Correspondence: Aditi Bhargava, PhD, Professor, Department of
                                                                 ObGyn and Center for Reproductive Sciences, 513 Parnassus Av-
genetics, relating genetic variation to disease incidence
                                                                 enue, HSE1635, Box 0556, UCSF, San Francisco, CA 94143, USA.
and outcome. Without the animal studies, however, it is          Email: Aditi.bhargava@ucsf.edu
difficult to understand detailed molecular mechanisms. It          Disclosures: The authors have nothing to disclose.
is also important to remember that no single rodent or             Disclaimer Statement: The Endocrine Society develops Scientific
animal model can capture the complexity of any human             Statements to assist clinicians and researchers by providing guidance
                                                                 and recommendations for particular areas of practice. One should not
disease, but each model provides valuable insights into
                                                                 consider this Scientific Statement inclusive of all proper approaches or
one or another major aspect of disease. If different etiolo-     methods, or exclusive of others. It cannot guarantee any specific out-
gies of a given disease share mechanisms, then mimicking         come, nor does it establish a standard of care. It is not intended to dic-
the precise conditions that initiate human disease may           tate the treatment of a particular patient. Treatment decisions must be
not be critical.                                                 made based on the independent judgment of health care providers and
    The study of sex chromosome effects is in its infancy        each patient’s individual circumstances. The Endocrine Society makes
                                                                 no warranty, express or implied, regarding this Scientific Statement
and has focused on proving that sex chromosomes play a
                                                                 and specifically excludes any warranties of merchantability and fitness
role and finding the genes responsible for the effects. So far   for a particular use or purpose. The Society shall not be liable for dir-
there has been little effort to understand how these factors     ect, indirect, special, incidental, or consequential damages related to
interact with steroid hormones to cause sex differences. If      the use of the information contained herein.
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